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                                                                                                APPEAL




                                 U.S. Bankruptcy Court
                     Eastern District of Pennsylvania (Philadelphia)
                        Adversary Proceeding #: 18−00137−mdc

Assigned to: Chief Judge Magdeline D. Coleman                  Date Filed: 06/11/18
Lead BK Case: 18−13098
Lead BK Title: Lyndel Toppin
Lead BK Chapter: 13
Demand:
 Nature[s] of Suit: 91 Declaratory judgment
                     72 Injunctive relief −
                        other



Plaintiff
−−−−−−−−−−−−−−−−−−−−−−−
Lyndel Toppin                                   represented by STEPHEN MATTHEW DUNNE
146 S. 62nd Street                                             Dunne Law Offices, P.C.
Philadelphia, PA 19145                                         1515 Market Street
SSN / ITIN: xxx−xx−2550                                        Suite 1200
                                                               Philadelphia, PA 19102
                                                               U.S.A.
                                                               215−551−7109
                                                               Fax : 215−525−9721
                                                               Email: bestcasestephen@gmail.com

                                                              PREDRAG FILIPOVIC
                                                              I Fight 4 Justice
                                                              1735 Market Street
                                                              Ste. 3750
                                                              Philadelphia, PA 19103
                                                              267 265 0520
                                                              Email: pfesq@ifight4justice.com
                                                              TERMINATED: 06/18/2019

                                                              MEGAN N. HARPER
                                                              City of Philadelphia − Law/Revenue Dept.
                                                              1401 JFK Blvd.
                                                              Room 580
                                                              Philadelphia, PA 19102
                                                              215 686 0503
                                                              Email: megan.harper@phila.gov
                                                              TERMINATED: 02/14/2019

                                                              DAVID M. OFFEN
                                                              The Curtis Center
                                                              601 Walnut Street
                                                              Suite 160 West
                                                              Philadelphia, PA 19106
                                                              (215) 625−9600
                                                              Email: dmo160west@gmail.com
                                                              TERMINATED: 02/14/2019



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      Case 2:21-cv-05144-WB Document 4-2 Filed 12/16/21 Page 2 of 142



V.

Defendant
−−−−−−−−−−−−−−−−−−−−−−−
Jewell Williams                                  represented by MEGHAN ANNETTE BYRNES
Sheriff of the City of Philadelphia                             City of Philadelphia
Land Title Building                                             1515 Arch Street
Fifth Floor                                                     Ste 17−151
100 South Broad Street                                          Philadelphia, PA 19102
Philadelphia, PA 19110                                          215−683−5011
                                                                Email: meghan.byrnes@phila.gov

                                                                JOSHUA DOMER
                                                                City of Philadelphia Law Department
                                                                1401 JFK Blvd
                                                                5th Floor
                                                                Philadelphia, PA 19102
                                                                215 686 0519
                                                                Email: joshua.domer@phila.gov

                                                                MEGAN N. HARPER
                                                                (See above for address)


Defendant
−−−−−−−−−−−−−−−−−−−−−−−
Abdeldayem Hassan                                represented by STEPHEN MATTHEW DUNNE
309 Barker Avenue                                               (See above for address)
Lansdowne, PA 19050                                             TERMINATED: 02/14/2019
aka Abdeldyem Hassan
                                                                DAVID M. OFFEN
                                                                (See above for address)

 Filing Date           #                                       Docket Text

                           30    Exhibit A thru K Filed by STEPHEN MATTHEW DUNNE on behalf of
                                 Lyndel Toppin (related document(s)29). (Attachments: # 1 Exhibit A # 2
                                 Exhibit B1 # 3 Exhibit B2 # 4 Exhibit B3 # 5 Exhibit B4 # 6 Exhibit C # 7
                                 Exhibit D # 8 Exhibit E # 9 Exhibit F # 10 Exhibit G # 11 Exhibit H # 12
                                 Exhibit I # 13 Exhibit J # 14 Exhibit K) (DUNNE, STEPHEN) (Entered:
 10/24/2018                      10/24/2018)

                           42    Pre−Trial Order. Pre−Trial Conference scheduled 7/17/2019 at 11:00 AM
                                 at nix2 − Courtroom #2. Joint Pre−Trial Statement due by 6/30/2019.
                                 Motions Due by 6/30/2019. All motions to amend the pleadings or for
                                 summary judgment shall be filed on or before May 3, 2019. Discovery due
                                 by 4/3/2019. Joint Statement due by 1/24/2019. (J., Christina) (Entered:
 01/03/2019                      01/03/2019)

                           46    Pre−Trial Scheduling Order. Pre−Trial Hearing scheduled 9/18/2019 at
                                 11:00 AM at nix2 − Courtroom #2. Motions Due by 8/29/2019. Discovery
                                 due by 6/2/2019. Joint Statement due by 8/29/2019. (D., Virginia)
 02/14/2019                      (Entered: 02/14/2019)

                           56    Pre−Trial Scheduling Order. Pre−Trial Conference scheduled 3/25/2020 at
                                 11:00 AM at nix2 − Courtroom #2. Joint Pre−Trial Statement due by
                                 2/28/2020. Motions to amend the pleadings or for summary judgment due
                                 by 12/26/19. Motions in limine. Due by 2/28/2020. Discovery due by
 07/18/2019                      11/26/2019. (J., Randi) (Entered: 07/18/2019)

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                  71   Motion For Summary Judgment Filed by Jewell Williams Represented by
                       MEGAN N. HARPER (Counsel). (Attachments: # 1 Proposed Order # 2
12/26/2019             Service List) (HARPER, MEGAN) (Entered: 12/26/2019)

                  72   Memorandum in Support of Motion for Summary Judgment Filed by
                       MEGAN N. HARPER on behalf of Jewell Williams (related
                       document(s)71). (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C
                       # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G # 8 Exhibit H # 9
                       Exhibit I # 10 Exhibit J # 11 Exhibit K # 12 Exhibit L # 13 Exhibit M # 14
12/26/2019             Exhibit N) (HARPER, MEGAN) (Entered: 12/26/2019)




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                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                                                :       Chapter 13
Lyndel Toppin,                                        :
                       Debtor.                        :       Bankruptcy No. 18-13098-MDC

Lyndel Toppin,                                        :
                       Plaintiff,                     :
         v.                                           :      Adversary No. 18-00137-MDC
Jewell Williams, Sheriff of the City of Philadelphia :
and Abdeldayem Hassan aka Abdeldyem Hassan,
                       Defendants.                    :


                              PRETRIAL SCHEDULING ORDER

         AND NOW, this 3rd day of January, 2019, the plaintiff having filed an adversary

proceeding and the defendants having filed a responsive pleading, it is hereby ORDERED that:

         1.     On or before January 24, 2019, the parties shall comply with Fed. R. Bankr. P.

7007.1, if the rule is applicable thereto, and the required disclosure statement has not yet been

filed.

         2.     On or before January 24, 2019, the parties shall submit to chambers a joint

statement indicating whether they consent to participate in the court-annexed mediation program.

The joint statement may include up to three suggested mediators from the list of certified

mediators, which list may be obtained from the Clerk. If the joint statement contains no

suggested mediator(s), then the Court will choose one.

         3.     On or before January 24, 2019, counsel shall have held and concluded the

mandatory discovery conference pursuant to Fed. R. Civ. P. 26(f), incorporated into these

proceedings by Fed. R. Bankr. P. 7026. During said conference, the parties shall consider, as




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part of their deliberations on how to proceed with discovery (including electronic discovery), the

discovery and pretrial schedule detailed in paragraph 6 below in this Order.

       4.      Within fourteen days of the conclusion of the parties’ discovery conference,

should the parties propose a discovery or pretrial schedule that differs from the one below, they

shall file with the Bankruptcy Court a report on discovery as mandated by Fed. R. Civ. P. 26(f).

The parties shall detail those differences in their Rule 26(f) report, along with the reasons

therefore. The Court may, when appropriate, order a hearing based upon the information found

in the Rule 26(f) report. If the parties are in agreement with the discovery schedule as outlined

herein, no report need be filed unless there are objections to the initial discovery disclosures.

       5.      Within fourteen days after the conclusion of the Rule 26(f) conference, the

parties shall provide the initial disclosures detailed in Fed. R. Civ. P. 26(a)(1). Any objections to

the initial discovery disclosures required by Fed. R. Civ. P. 26(a)(1) shall be clearly raised in a

Rule 26(f) report.

       6.      The following discovery and pretrial schedule shall be considered by the parties in

their deliberations at their discovery conference:

               A.      All discovery shall be completed on or before April 3, 2019.

               B.      All expert witnesses shall be identified and a copy of each expert’s report
                       shall be provided to every other party, in accordance with Fed. R. Civ. P.
                       26(a)(2) on or before March 4, 2019.

               C.      All motions to amend the pleadings or for summary judgment shall be
                       filed on or before May 3, 2019.

               D.      All discovery disclosures pursuant to Fed. R. Civ. P. 26(a)(3) shall be
                       served on opposing parties and filed with the bankruptcy court on or
                       before May 17, 2019.

               E.      Any objections to the Rule 26(a)(3) disclosures shall be served on
                       opposing parties and filed with the bankruptcy court on or before May 31,
                       2019.


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             F.     On or before June 30, 2019, the parties shall file a joint pretrial statement
                    consistent with the form set forth in paragraph 7 below and file a copy
                    with chambers. The joint pretrial statement shall be signed by all counsel.
                    It is the obligation of the plaintiff’s counsel to initiate, assemble and
                    submit the proposed pretrial statement. Plaintiff’s counsel shall submit a
                    proposed joint pretrial statement to defendant’s counsel not less than 7
                    days prior to the deadline for its submission.

                    Counsel are expected to make a diligent effort to prepare a proposed
                    pretrial statement in which will be noted all of the issues on which the
                    parties are in agreement and all of those issues on which they disagree.
                    The proposed pretrial statement shall supersede all pleadings in the case.
                    Amendments will be allowed only in exceptional circumstances and to
                    prevent manifest injustice.

             G.     All motions in limine shall be filed on or before June 30, 2019.

      7.     The joint pretrial statement shall be in the following form:

             A.     Basis of jurisdiction. A statement setting forth the basis of jurisdiction
                    and whether the matter is core or noncore. If the matter is noncore, the
                    parties shall state whether they consent to the Court’s entry of a final order
                    pursuant to 28 U.S.C. § 157(c)(2). If the parties disagree, they shall each
                    cite to relevant authority to support their positions.

             B.     Statement of uncontested facts. A statement of the uncontested facts.

             C.     Statement of facts which are in dispute. A statement of the facts in
                    dispute. No facts should be disputed unless opposing counsel expects to
                    present contrary evidence on the point at trial, or genuinely challenges the
                    fact on credibility grounds.

             D.     Damages or other relief. A statement of damages claimed or relief sought.
                    A party seeking damages shall provide, for each cause of action being
                    pursued: (a) a detailed description of each item of damages claimed; (b)
                    the legal authority for such damages and (c) the specific amount of
                    damages claimed. A party seeking relief other than damages shall, for
                    each cause of action being pursued, list the exact form of relief sought
                    with precise designation of persons, parties, placed and things expected to
                    be included in any order for relief and the legal authority for such relief.

             E.     Legal issues. For the causes of action being pursued, identify the
                    following: (i) the constitutional, statutory, regulatory and decisional
                    authorities being relied upon for each cause of action; (ii) the elements
                    which must be satisfied to prevail on each cause of action; and (iii) which
                    party bears the burden of proof on each element. Also list any additional
                    legal issues (e.g., affirmative defenses) that will be relevant to the court’s

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                         disposition of the matter, the authority pertinent to each legal issue, and
                         the party which bears the burden on the issue.

               F.        Witnesses. A list of witnesses in the order in which they will be called,
                         along with a brief statement of the evidence the witness will give.
                         Witnesses shall be classified between those whom any party expected to
                         present and those whom any party may call if the need arises. If not
                         already provided to all parties, the address and telephone number of each
                         witness shall be disclosed.

               G.        A list of all exhibits. A list of all exhibits to be offered into evidence
                         which shall be serially numbered and physically marked before trial in
                         accordance with the schedule. Documents which a party may offer if the
                         need arises shall be separately identified.

               H.        A list of each discovery item and trial deposition. A list of each discovery
                         item and trial deposition to be offered into evidence. Counsel shall
                         designate by page portion of deposition testimony and by number the
                         interrogatories/request for admissions which shall be offered into
                         evidence.

               I.        Estimated trial time and scheduling issues. A statement of: (i) the
                         estimated time which the trial will require; and (2) any issues that should
                         be considered in setting a trial date (e.g. witnesses traveling from out-of-
                         state who will need notice of the trial date to make their travel plans).

               J.        Certification. A certification that the parties have attempted good faith
                         settlement discussions without success.

       8.      A mandatory pretrial/settlement conference shall be held on July 17, 2019, at

11:00 a.m., in Bankruptcy Courtroom No. 2, Robert N.C. Nix Federal Building &

Courthouse, 900 Market Street, 2nd Floor, Philadelphia, Pennsylvania.

       9.      If the adversary proceeding is not resolved prior to the conclusion of the final

pretrial/settlement conferences, the adversary proceeding shall be set down for trial at the Court’s

first available trial date. The trial may be continued only in exceptional circumstances on motion

to and leave of Court.

       10.     Seven (7) or more days prior to the date of the trial, each party is required to

provide: (i) a copy of exhibits to the opposing parties; and (ii) two copies of exhibits to


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chambers.

       11.     The Court may require each party to file (and, if not directed by the Court, each

party may choose to file), five (5) days prior to the date of the trial, a pretrial memorandum with

service on the opposing party and a courtesy copy delivered to chambers.


                                                      _______________________________
                                                      MAGDELINE D. COLEMAN
                                                      UNITED STATES BANKRUPTCY JUDGE

Stephen M. Dunne, Esquire
Dunne Law Offices, P.C.
1515 Market Street, Suite 1200
Philadelphia, PA 19102

Megan N. Harper, Esquire
City of Philadelphia
Law/Revenue Department
Municipal Service Building
1401 John F. Kennedy Boulevard, Room 580
Philadelphia, PA 19102-1595

David M. Offen, Esquire
The Curtis Center
601 Walnut Street, Suite 160 West
Philadelphia, PA 19106




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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:
Lyndel Toppin                                          :     Chapter 13
             Debtor.                                   :
                                                       :     Bankruptcy No. 18-13098-MDC
___________________________________________
                                                    :
Lyndel Toppin                                       :
             Plaintiff.                             :
v.                                                  :        Adversary No. 18-00137-MDC
                                                    :
Jewell Williams, Sheriff of the City of Philadelphia :
and Abdeldayem Hassan a/k/a Abdeldyem Hassan :
                                                    :
              Defendants.                           :
___________________________________________

                             PRETRIAL SCHEDULING ORDER

        AND NOW, this day of February 4, 2019, the Plaintiff, Lyndel Toppin and the
Defendants, Jewel Williams and Abdeldayem Hassan, by and through their undersigned
attorneys, respectfully submit this Joint Pretrial Schedule. The dates set forth in following Joint
Pretrial Schedule differ from the Court’s Pretrial Scheduling Order (ECF # 42) by sixty (60) days
to accommodate the arrival of debtor’s counsel’s baby in/around March 15, 2019 and his
intention take paternity leave to spend some quality tummy time with his new baby.

       The parties submit the following Joint Pretrial Schedule:

               A.     All discovery shall be completed on or before June 2, 2019.

               B.     All expert witnesses shall be identified and a copy of each expert’s report
                      shall be provided to every other party, in accordance with Fed. R. Civ. P.
                      26(a)(2) on or before May 3, 2019.

               C.     All motions to amend the pleadings or for summary judgment shall be
                      filed on or before July 2, 2019.

               D.     All discovery disclosures pursuant to Fed. R. Civ. P. 26(a)(3) shall be
                      served on opposing parties and filed with the bankruptcy court on or
                      before July 16, 2019.




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               E.      Any objections to the Rule 26(a)(3) disclosures shall be served on
                       opposing parties and filed with the bankruptcy court on or before
                       July 30, 2019.

               F.      On or before August 29, 2019, the parties shall file a joint pretrial
                       statement consistent with the form set forth in paragraph 7 below and file
                       a copy with chambers. The joint pretrial statement shall be signed by all
                       counsel. It is the obligation of the plaintiff’s counsel to initiate, assemble
                       and submit the proposed pretrial statement. Plaintiff’s counsel shall submit
                       a proposed joint pretrial statement to defendant’s counsel not less than 7
                       days prior to the deadline for its submission. Counsel are expected to
                       make a diligent effort to prepare a proposed pretrial statement in which
                       will be noted all of the issues on which the parties are in agreement and all
                       of those issues on which they disagree. The proposed pretrial statement
                       shall supersede all pleadings in the case. Amendments will be allowed
                       only in exceptional circumstances and to prevent manifest injustice.

               G.      All motions in limine shall be filed on or before August 29, 2019.

               H.      A mandatory pretrial/settlement conference shall be held on September
                       1 2019 at 11.00 a.m., in Bankruptcy Courtroom No. 2, Robert N.C.
                       Nix Federal Building & Courthouse, 900 Market Street, 2nd Floor,
                       Philadelphia, Pennsylvania.
                                                      So Ordered,

   February 14, 2019
                                                      __________________________________
                                                      MAGDELINE D. COLEMAN
                                                      UNITED STATES BANKRUPTCY JUDGE

Stephen M. Dunne, Esquire
1515 Market Street, Suite 1200
Philadelphia, PA 19102

Megan N. Harper, Esquire
City of Philadelphia
1401 John K. Kennedy Boulevard, Room 580
Philadelphia, PA 19102

David M. Offen, Esquire
601 Walnut Street, Suite 160
Philadelphia, PA 19106




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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:
Lyndel Toppin                                           :     Chapter 13
             Debtor.                                    :
                                                        :     Bankruptcy No. 18-13098-MDC
___________________________________________
                                                    :
Lyndel Toppin                                       :
             Plaintiff.                             :
v.                                                  :         Adversary No. 18-00137-MDC
                                                    :
Jewell Williams, Sheriff of the City of Philadelphia :
and Abdeldayem Hassan a/k/a Abdeldyem Hassan :
                                                    :
              Defendants.                           :
___________________________________________

                             PRETRIAL SCHEDULING ORDER

        AND NOW, this day of July 1, 2019, the Plaintiff, Lyndel Toppin and the
Defendants, Jewel Williams and Abdeldayem Hassan, by and through their undersigned
attorneys, respectfully submit this Joint Pretrial Schedule. The dates set forth in following
Joint Pretrial Schedule differ from the Court’s Pretrial Scheduling Order (ECF # 46):

       The parties submit the following Joint Pretrial Schedule:

               A.      All discovery shall be completed on or before November 26, 2019.

               B.      All expert witnesses shall be identified and a copy of each expert’s report
                       shall be provided to every other party, in accordance with Fed. R. Civ. P.
                       26(a)(2) on or before October 25, 2019.

               C.      All motions to amend the pleadings or for summary judgment shall be
                       filed on or before December 26, 2019.

               D.      All discovery disclosures pursuant to Fed. R. Civ. P. 26(a)(3) shall be
                       served on opposing parties and filed with the bankruptcy court on or
                       before January 16, 2020.




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              E.     Any objections to the Rule 26(a)(3) disclosures shall be served on
                     opposing parties and filed with the bankruptcy court on or before
                     January 3, 2020.

              F.     On or before February 28, 2020 the parties shall file a joint pretrial
                     statement consistent with the form set forth in paragraph 7 below and file
                     a copy with chambers. The joint pretrial statement shall be signed by all
                     counsel. It is the obligation of the plaintiff’s counsel to initiate, assemble
                     and submit the proposed pretrial statement. Plaintiff’s counsel shall submit
                     a proposed joint pretrial statement to defendant’s counsel not less than 7
                     days prior to the deadline for its submission. Counsel are expected to
                     make a diligent effort to prepare a proposed pretrial statement in which
                     will be noted all of the issues on which the parties are in agreement and all
                     of those issues on which they disagree. The proposed pretrial statement
                     shall supersede all pleadings in the case. Amendments will be allowed
                     only in exceptional circumstances and to prevent manifest injustice.

              G.     All motions in limine shall be filed on or before February 28, 2020.

              H.     A mandatory pretrial/settlement conference shall be held on March
                     2, 2020 at 11.00 a.m., in Bankruptcy Courtroom No. 2, Robert N.C.
                     Nix Federal Building & Courthouse, 900 Market Street, 2nd Floor,
                     Philadelphia, Pennsylvania.
                                                    So Ordered,

                                                    __________________________________
                                                    MAGDELINE D. COLEMAN
                                                    &+,()UNITED STATES BANKRUPTCY JUDGE
Stephen M. Dunne, Esquire
1515 Market Street, Suite 1200
Philadelphia, PA 19102

Megan N. Harper, Esquire
City of Philadelphia
1401 John K. Kennedy Boulevard, Room 580
Philadelphia, PA 19102

David M. Offen, Esquire
601 Walnut Street, Suite 160
Philadelphia, PA 19106




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                        IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA
------------------------------------------------------x
In re:                                                :
                                                      : Chapter 13
LYNDEL TOPPIN,                                        :
                                                      : Bankruptcy No. 18-13098 (MDC)
                  Debtor.                             :
------------------------------------------------------x
------------------------------------------------------x
                                                      :
LYNDEL TOPPIN,                                        :
                                                      : Adv. Pro. No. 18-00137 (MDC)
                  Plaintiff,                          :
                                                      :
                  v.                                  :
                                                      :
JEWELL WILLIAMS SHERIFF                               :
OF THE CITY OF PHILADELPHIA and :
ABDELDAYEM HASSAN a/k/a                               :
ABDELDYEM HASSAN,                                     :
                                                      :
                  Defendant                           :
------------------------------------------------------x

                   THE SHERIFF OF THE CITY OF PHILADELPHIA’S
                        MOTION FOR SUMMARY JUDGMENT

       Defendant, Jewell Williams, Sheriff of the City of Philadelphia (the “Sheriff”), by and

through his undersigned counsel, submits this Motion for Summary Judgement and in support

thereof avers the following:

       1.      Plaintiff, Lyndel Toppin (the “Plaintiff”), commenced this Adversary Proceeding

against the Sheriff and co-defendant Abdeldayem Hassan alleging willful violations of the

automatic stay under Section 362(a) of Chapter 11 of title 11 of the United States Code § 101, et

seq. (the “Bankruptcy Code”) for post-petition enforcement of a writ of possession against

unknown occupants at 146 S. 62nd Street, Philadelphia, Pennsylvania.

       2.      According to the Plaintiff, execution of the writ was: 1) the commencement or

continuation of a judicial proceeding; 2) the enforcement of a judgment against the Debtor or




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property of the estate, and; 3) an act to obtain possession of property of the estate or property

from the estate. See Debtor’s Second Amended Complaint Concerning Willful Violations of the

Automatic Stay by Defendants Sheriff of the City of Philadelphia and Abdeldayem Hassan a/k/a

Abdeldyem Hassan (the “Complaint”) [Docket No. 29] at p. 2.

         3.      The Plaintiff seeks damages including emotional distress and punitive damages,

costs and attorney’s fees pursuant to Section 362(k) of the Bankruptcy Code. See Complaint, pp.

10-12.

         4.      The Complaint’s allegations of liability against the Sheriff are unsupported by

fact or law.

         5.      As set forth more fully in the City’s Memorandum of Law in Support of Summary

Judgment, the Sheriff is entitled to quasi-judicial immunity for conduct in execution of an order

of court.

         6.      In addition, executing the writ was a ministerial act that is not subject to the

Bankruptcy Code’s automatic stay.

         7.      To the extent the Court is not inclined to grant summary judgement in the

Sheriff’s favor and dismiss the Complaint entirely, the Sheriff is entitled to partial summary

judgment with respect to damages.

         8.      Emotional distress damages cannot be awarded against the Sheriff pursuant to 11

U.S.C. § 106(a)(5) and the Pennsylvania Political Subdivision Tort Claims Act, 42 Pa.C.S.A.

§8541, et seq.

         9.      Nor does the Sheriff’s alleged conduct rise to a level such that Plaintiff could

recover damages for emotional distress in this case. Plaintiff only generally averred as to the




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nature of his emotional injuries and has not produced any medical evidence to corroborate the

harm or to establish a causal connection to the Sheriff’s actions.

       10.     Lastly, Plaintiff may not seek punitive damages against the Sheriff pursuant to 11

U.S.C. § 106(a)(3).

       11.     The Sheriff is entitled to summary judgment in his favor for the reasons set forth

herein and as more fully set forth in the Memorandum of Law.

       WHEREFORE, the Sheriff respectfully requests that the Court grant summary judgment

in his favor, dismiss the Complaint with prejudice and grant such other and further relief as this

Court deems appropriate.



                                              Respectfully submitted,

                                              THE CITY OF PHILADELPHIA

Dated: December 26, 2019              By:      /s/ Megan N. Harper
                                              MEGAN N. HARPER
                                              Deputy City Solicitor
                                              PA Attorney I.D. 81669
                                              Attorney for the City of Philadelphia
                                              City of Philadelphia Law Department
                                              Municipal Services Building
                                              1401 JFK Boulevard, 5th Floor
                                              Philadelphia, PA 19102-1595
                                              215-686-0503 (phone)
                                              Email: Megan.Harper@phila.gov




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                        IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA
------------------------------------------------------x
In re:                                                :
                                                      : Chapter 13
LYNDEL TOPPIN,                                        :
                                                      : Bankruptcy No. 18-13098 (MDC)
                  Debtor.                             :
------------------------------------------------------x
------------------------------------------------------x
                                                      :
LYNDEL TOPPIN,                                        :
                                                      : Adv. Pro. No. 18-00137 (MDC)
                  Plaintiff,                          :
                                                      :
                  v.                                  :
                                                      :
JEWELL WILLIAMS SHERIFF                               :
OF THE CITY OF PHILADELPHIA and :
ABDELDAYEM HASSAN a/k/a                               :
ABDELDYEM HASSAN,                                     :
                                                      :
                  Defendant                           :
------------------------------------------------------x

                                           ORDER

       AND NOW, this ____ day of ________________, 2020, upon consideration of The

Sheriff of the City of Philadelphia’s Motion for Summary Judgment (“Motion”) and

Memorandum of Law in Support of Summary Judgment, and any response thereto, it is hereby

ORDERED that the Motion is GRANTED and the Complaint is hereby DISMISSED with

prejudice.

                                            BY THE COURT:



                                            MAGDELINE D. COLEMAN
                                            CHIEF JUDGE, U.S. BANKRUPTCY COURT




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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

------------------------------------------------------x
In re:                                                :
                                                      :   Chapter 13
LYNDEL TOPPIN,                                        :
                                                      :   Bankruptcy No. 18-13098 (MDC)
                  Debtor.                             :
------------------------------------------------------x
------------------------------------------------------x
                                                      :
LYNDEL TOPPIN,                                        :
                                                      :   Adv. Pro. No. 18-00137 (MDC)
                  Plaintiff,                          :
                                                      :
                  v.                                  :
                                                      :
JEWELL WILLIAMS SHERIFF                               :
OF THE CITY OF PHILADELPHIA and :
ABDELDAYEM HASSAN a/k/a                               :
ABDELDYEM HASSAN,                                     :
                                                      :
                  Defendant                           :
------------------------------------------------------x

                                      CERTIFICATE OF SERVICE

        I, Megan N. Harper, do certify that on December 26, 2019, I caused a true and correct copy

of the Sheriff of the City of Philadelphia’s Motion for Summary Judgment and Memorandum of

Law in Support thereof to be served via CM/ECF and by U.S. First Class Mail, postage prepaid,

upon the parties listed below:

                                         Stephen M. Dunne, Esquire
                                             515 Market Street
                                                 Suite 1200
                                           Philadelphia, PA 19102

                                           Predrag Filipovic, Esq.
                                            BNY Mellon Center
                                             1735 Market Street
                                                 Suite 3750
                                           Philadelphia, PA 19103




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                             David M. Offen, Esquire
                               The Curtis Center
                               601 Walnut Street
                             Philadelphia, PA 19106



                                     THE CITY OF PHILADELPHIA


Dated: December 26, 2019      By:     /s/ Megan N. Harper
                                     MEGAN N. HARPER
                                     Deputy City Solicitor
                                     PA Attorney I.D. 81669
                                     City of Philadelphia Law Department
                                     Municipal Services Building
                                     1401 JFK Boulevard, 5th Floor
                                     Philadelphia, PA 19102-1595
                                     215-686-0503 (phone)
                                     Email: Megan.Harper@phila.gov




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                        IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA
------------------------------------------------------x
In re:                                                :
                                                      : Chapter 13
LYNDEL TOPPIN,                                        :
                                                      : Bankruptcy No. 18-13098 (MDC)
                  Debtor.                             :
------------------------------------------------------x
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                                                      :
LYNDEL TOPPIN,                                        :
                                                      : Adv. Pro. No. 18-00137 (MDC)
                  Plaintiff,                          :
                                                      :
                  v.                                  :
                                                      :
JEWELL WILLIAMS SHERIFF                               :
OF THE CITY OF PHILADELPHIA and :
ABDELDAYEM HASSAN a/k/a                               :
ABDELDYEM HASSAN,                                     :
                                                      :
                  Defendant                           :
------------------------------------------------------x

     THE SHERIFF OF THE CITY OF PHILADELPHIA’S MEMORANDUM OF LAW
             IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT

       Jewell Williams, Sheriff of the City of Philadelphia (the “Sheriff”), by and through his

Counsel, Megan N. Harper, Deputy City Solicitor, hereby files the following Memorandum of

Law in Support of Motion for Summary Judgment.

I.     FACTUAL AND PROCEDURAL BACKGROUND

       1.     On October 05, 2017, 146 South 62nd Street, Philadelphia, PA 19139 (the

“Property”) was sold pursuant to a lawful sheriff’s sale for delinquent taxes. A true and correct

copy of the Civil Docket Report from the Philadelphia Court of Common Pleas case number

1504T0192 is attached hereto as Exhibit “A.”

       2.     At all times relevant hereto, public records identified the property owners as

Eleanor and Stanley Zalkin. See Ex. A.




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       3.      Defendant Abdeldayem Hassan a/k/a Abdeldyem Hassan (“Defendant Hassan”)

was the winning bidder at the sale. See Ex. A.

       4.      On November 21, 2017, the Office of the Sheriff of Philadelphia recorded the

deed from the Zalkins to Mr. Hassan. A true and correct copy of the Sheriff’s Deed for the

Property is attached hereto as Exhibit “B.”

       5.      On January 22, 2018, Defendant Hassan filed an ejectment action in the

Philadelphia Court of Common Pleas against “Unknown Occupants” of the Property. A true and

correct copy of the Civil Docket Report from the Philadelphia Court of Common Pleas docket

180103400 is attached hereto as Exhibit “C.”

       6.      On April 05, 2018, Defendant Hassan received a default judgment and filed a

Motion for Writ of Possession against Unknown Occupants, which was granted on April 30,

2018. See Ex. C.

       7.      The court’s Order dated April 30, 2018 directed the Office of Judicial Records to

issue a Writ of Possession upon Praecipe of Plaintiff. See Ex. C.

       8.      Defendant Hassan filed the Praecipe and the court issued the Writ of Possession

against Unknown Occupants for the Property on May 07, 2018. True and correct copies of the

Praecipe and Writ of Possession are attached hereto as Exhibit “D.”

       9.      On May 8, 2018, on or around 3:52 PM, Defendant Hassan brought the Writ of

Possession to the Civil Enforcement Unit of the Sheriff’s Office for enforcement against

Unknown Occupants. A true and correct copy of the Writ of Possession from the Civil

Enforcement Unit of the Sherriff’s Office is attached hereto as Exhibit “E.”

       10.     Later that day, at 6:04 PM, Lyndel Toppin (“Plaintiff”) filed a voluntary Chapter

13 bankruptcy petition with this Court, case number 18-13098. See Plaintiff’s Second Amended



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Complaint Concerning Willful Violations of the Automatic Stay by Defendants Sheriff of the

City of Philadelphia and Abdeldayem Hassan a/k/a Abdeldyem Hassan (“Compl.”) [Docket No.

29] at ¶ 33.

        11.      On or around May 08, 2018, at 10:25 PM, the Real Estate Unit received a fax

with the subject line “Notice of Bankruptcy Case Filing – Book/Writ 1707-5002.1” A true and

correct copy of the fax of Notice of Bankruptcy dated May 08, 2018 is attached hereto as Exhibit

“F.”

        12.      The Notice of Bankruptcy was noted on May 09, 2018, on the Sheriff’s Return of

Service pertaining to the sheriff sale action of the same Book/Writ number. A true and correct

copy of the Sheriff’s Return of Service for Court of Common Pleas case number 1504T0192 is

attached hereto as Exhibit “G.”

        13.      However, it is the Civil Enforcement Unit of the Sheriff’s Office, which is distinct

from the Real Estate Unit, that is tasked primarily with enforcing civil complaints, which

includes enforcing Writs of Possession, executing pursuant to court orders, and enforcing

injunctions. A true and correct copy of the deposition of Deputy Sheriff Lieutenant Sean

Thornton, 9:1–6, Dec. 12, 2019, is attached hereto as Exhibit “H.”

        14.      The sheriffs of the Civil Enforcement Unit are trained to cease all operations,

including any actions on complaints or writs, when the Unit is notified of a bankruptcy stay. Ex.

H 12:22–13:4, 14:10–15:9; and a true and correct copy of the deposition of Deputy Sheriff

Jetaria Taylor, 32:12–33:9, Dec. 12, 2019, is attached hereto as Exhibit “I.”




1
 The Book/Writ Number 1701-5002 is related to the Sheriff’s sale proceeding, docketed in the Philadelphia Court
of Common Pleas under case number 1504T0192 and attached here as Ex. A. This is not connected to the Writ of
Possession, docketed in the Philadelphia Court of Common Pleas under case number 180103400, and attached here
as Ex. D.

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       15.     The Civil Enforcement Unit of the Sheriff’s Office, however, was unaware that a

Bankruptcy had been filed at this time. Ex. I 30:6–31:14, 32:4–11.

       16.     The Civil Enforcement Unit cannot view information related to the sheriff sale

proceeding held by the Real Estate Unit in the Sheriff’s database system. Ex. I 30:16–31:14,

32:4–11.

       17.     The Civil Enforcement Unit may receive notice about a bankruptcy from another

part of the Sheriff’s Office if it’s clear that it’s related to an eviction or the work of the Civil

Enforcement Unit. Ex. I 32:4–11.

       18.     On or about May 10, 2018, Deputy Sheriff Jetaria Taylor (“Deputy Taylor”) went

out to the Property to personally serve the Notice to Vacate the premises. A true and correct copy

of the Service Event Report dated May 10, 2018 is attached hereto as Exhibit “J.”

       19.     When she was unable to effectuate personal service, pursuant to Unit policy, she

posted the notice to the front door, left a copy of the notice in the mail slot at the Property, and

mailed a copy of the notice through regular mail. Ex. I 9:14–18, 14:1–9; Ex. H 57:21–58:11.

       20.     On May 31, 2018, a Certificate of Notice was filed in this case which indicates

the Bankruptcy Noticing Center mailed a notice of the Plaintiff’s bankruptcy case to the

Philadelphia Sheriff’s Office at 100 S. Broad Street, 5th Floor, Philadelphia, PA 19110, and

provided electronic notice to the City of Philadelphia Law Department at bankruptcy@phila.gov.

A true and correct copy of the BNC Certificate of Notice, 18-13098, ECF No. 12, is attached

hereto as Exhibit “K.”

       21.     On June 01, 2018, Deputy Taylor returned to the Property to personally serve the

Eviction Notice. Ex. I 18:21–24.




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       22.     When she was unable to effectuate personal service again, pursuant to Unit

policy, she posted the notice to the front door, left a copy of the notice in the mail slot at the

Property, and mailed a copy of the notice through regular mail. Ex. I 9:14–18, 14:1–9; Ex. H

57:21–58:11.

       23.     On or around June 07, 2018, the Civil Enforcement Unit received a fax advising

that Lyndel Toppin filed a Chapter 13 bankruptcy case on May 08, 2018. A true and correct copy

of the fax of Notice of Bankruptcy dated June 07, 2018 is attached hereto as Exhibit “L.

       24.     The Sheriff’s Office noted the bankruptcy on the Writ of Possession, see Ex. E, in

the book where the future eviction for the Property was logged, a true and correct copy of the

possession log book is attached hereto as Exhibit “M,” and in the JEWELL database system used

by the Civil Enforcement Unit. A true and correct copy of the Service Event Report dated June

25, 2018 is attached hereto as Exhibit “N.”

       25.     At that time, all activity to enforce the Writ of Possession was halted.

       26.     On June 11, 2018, the Plaintiff filed this adversary proceeding against Defendant

Hassan and the Sheriff of the City of Philadelphia.

       27.     Plaintiff alleges that their counsel attempted to notify the Sheriff’s Office on

various occasions from May 8, 2018 to June 7, 2018, Compl. ¶¶ 35–41, 43–45, but that the

Sheriff of Philadelphia continued to employ process to execute on the Writ of Possession on no

less than six (6) separate occasions after the bankruptcy was filed. Compl. ¶ 47. Plaintiff alleges

that, due to the Sheriff’s and Defendant Hassan’s enforcement activity, the Plaintiff has been

harmed. Compl. ¶ 64.

       28.     Plaintiff now asks this court to find that the Sheriff willfully violated the

automatic stay, Compl. ¶¶ 65–66; to find that the Sheriff is in contempt of this Court by violating



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the automatic stay, Compl. ¶ 67; to issue a declaratory judgment and an injunction against the

Sheriff, Id.; and lastly to award personal and emotion injuries as actual damages, attorneys fees

and expenses, punitive damages, and pre- and post-judgment interest. Compl. ¶ 68.

II.    SUMMARY JUDGMENT STANDARD

       The court shall render summary judgment “if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

Civ. P. 56(a). An issue is “genuine” only if there is a sufficient evidentiary basis on which a

reasonable jury could find for the non-moving party. Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 249 (1986). A factual dispute is “material” if it might affect the outcome of the suit under

governing law. See id. All inferences must be drawn, and all doubts resolved, in favor of the

nonmoving party, here, the Plaintiff. See United States v. Diebold, Inc., 369 U.S. 654, 655

(1962); Gans v. Mundy, 762 F.2d 338, 341 (3d Cir. 1985).

       On motion for summary judgment, the moving party bears the initial burden of

identifying those portions of the record that he or she believes demonstrate the absence of

material fact disputes. See Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). To defeat

summary judgment, the non-moving party must respond with facts of record that contradict the

facts identified by the moving party and may not rest on mere denials. See id. at 321, n.3; First

Nat'l Bank of Pa. v. Lincoln Nat'l Life Ins. Co., 824 F.2d 277, 282 (3d Cir. 1987). In a case where

the non-moving party is the plaintiff and therefore bears the burden of proof, the non-moving

party must, by affidavits or by the depositions and admissions on file, “make a showing

sufficient to establish the existence of [every] element essential to that party’s case.” Celotex,

477 U.S. at 322-24. The non-moving party must adduce more than a mere scintilla of evidence in

its favor to defeat the moving party’s summary judgment motion. See Williams v. Borough of

West Chester, Pa., 891 F.2d 458, 460 (3d Cir. 1989).

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       Although all justifiable inferences must be drawn in favor of the non-moving party, the

“moving party is entitled to summary judgment where no reasonable resolution of conflicting

evidence and inferences therefrom could result in a judgment for the non-moving party.”

Schwartz v. Hospital of Univ. of Pa., 1993 WL 153810 at *2 (E.D. Pa. May 7, 1993). With

respect to an issue on which the non-moving party has the burden of proof, the burden on the

moving party may be discharged by pointing out to the court that there is an absence of evidence

to support the nonmoving party’s case. Celotex, 477 U.S. at 325.

III.   ARGUMENT

       A. The Sheriff is Entitled to Quasi-Judicial Immunity

       The Sheriff cannot be held liable for violating the automatic stay provision at Section

362(a) of the Bankruptcy Code because the Sheriff is entitled to quasi-judicial immunity. It is

well settled that judicial officers are immune from damage suits arising out of their official

duties. Stump v. Sparkman, 435 U.S. 349, 98 S.Ct. 1099, 55 L.Ed.2d 331 (1978); Figueroa v.

Blackburn, 208 F.3d 435, 440 (3d Cir.2000). The doctrine of quasi-judicial immunity extends

absolute immunity to persons executing valid court orders from civil actions for damages

challenging conduct authorized by the order. See Coverdell v. The Department of Social and

Health Services, State of Washington, 834 F.2d 758, 764-765 (9th Cir. 1987); see also Gallas v.

Supreme Court of Pennsylvania, 211 F.3d 760, 772–73 (3d Cir. 2000).

              The rational for immunizing persons who execute court orders is
              apparent. Such persons are themselves ‘integral parts of the
              judicial process.’ Briscoe v. LaHue, 460 U.S. 325, 355, 103 S.Ct.
              1108, 1116, 75 L.Ed.2d 96 (1983). The fearless and unhesitating
              execution of court orders is essential if the court's authority and
              ability to function are to remain uncompromised.

Coverdell, 834 F.2d at 765. The application of quasi-judicial immunity to any public official

acting pursuant to court directive is based on a well-grounded principle that those who are


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required to follow the instructions of a court have no discretion but to obey the order and

mandate of the court. Lockhart v. Hoenstine, 411 F.2d 455, 460 (3d Cir. 1969). Thus, the Sheriff,

in executing the writ against unknown occupants at the Property, was performing a ministerial

function, without discretion, at the direction of the judge and is entitled to immunity. Waits v.

McGowan, 516 F.2d 203, 206 (3d Cir. 1975).

       In Pennsylvania, a sheriff’s only duties established by statute are court-related functions.

The Pennsylvania Constitution provides that sheriffs are county officers. Pa. Const. Art. IX, § 4.

Although the Constitution establishes the office, it does not describe the duties of a sheriff.

Kopko v. Miller, 892 A.2d 766, 770–71 (Pa. 2006). While the sheriff’s power at common law

was formidable, other institutions, including modern law enforcement agencies, have greatly

diminished the authority of the sheriff’s office. Com. v. Leet, 585 A.2d 1033, 1037 (Pa. Super.

1991) (citations omitted). “Today, the sheriff's principal function is as an arm of the court, which

is the duty specifically assigned to the office of sheriff by the legislature.” Com. v. Leet, 585

A.2d at 1037. A sheriff is mandated to “serve process and execute orders directed to him

pursuant to the law.” 42 Pa.C.S.A. § 2921; Kopko v. Miller, 892 A.2d at 772; Commonwealth v.

Copenhaver, 200 A.3d 956, 960–61 (Pa. Super. 2018), appeal granted, 215 A.3d 970 (Pa. 2019);

Allegheny County Deputy Sheriff's Ass'n v. Pennsylvania Labor Relations Bd., 504 A.2d 437,

439 (PA Cmwlth. 1986) (a sheriff’s role is as an arm of the judicial system, implementing court-

related processes).

       There are numerous examples of courts extending quasi-judicial immunity to sheriffs and

sheriff’s deputies carrying out orders of court. The Third Circuit has held that the York County

Sheriff carrying out a foreclosure sale pursuant to a facially valid court order is entitled to quasi-

judicial immunity. See Conklin v. Anthou, 495 F. App'x 257, 264 (3d Cir. 2012); see also



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Watkins v. City of Philadelphia, No. CV 17-0060, 2017 WL 3394618, at *2 (E.D. Pa. Aug. 8,

2017). The United States District Court for the Eastern District of Pennsylvania found the Sheriff

and then Acting Sheriff Barbara Deeley were entitled to quasi-judicial immunity for executing a

facially valid writ following judgment in an action for ejectment. Jamaladdin v. Dietterick, No.

CIV.A. 12-4686, 2013 WL 331336, at *1-2 (E.D. Pa. Jan. 29, 2013). The Third Circuit also

applied the doctrine to the Sheriff of Allegheny County when the Court found that an order of a

judgment entered in Family Division proceedings may not serve as a basis for a civil action for

damages against the Sheriff whose deputies jailed a party to the proceedings based upon those

orders. See Addlespurger v. Corbett, 461 F. App'x 82, 85–86 (3d Cir. 2012).

       The scope of the quasi-judicial immunity, though broad, does not extend to actions taken

outside the scope of a non-judicial officer’s duty. It extends only to acts authorized by court

order and excludes acts that exceed such authorization. Thus, for example, officers may be

immune from making an arrest pursuant to a warrant, but not for use of excessive force when

executing an arrest warrant. Russell v. Richardson, 905 F.3d 239, 248–49 (3d Cir. 2018). Nor

does it extend to discretionary actions not taken at the direction of a judge. See Snyder v.

Fleming, 102 F.Supp.2d 592, 596 (M.D. Pa. 2000) (denying summary judgement to sheriff's

office defendants who seized plaintiff's property in order to satisfy a judgment for which they

were entitled to immunity, but also provided incorrect discretionary advice to the plaintiff for

which they may not have been entitled to immunity).

       The Plaintiff does not allege that the Sheriff was acting outside the scope of his authority

pursuant to the facially valid writ issued by the Court of Common Pleas of the First Judicial

District. Plaintiff’s allegations against the Sheriff all stem from the lawful enforcement of the

writ. The allegations against the Sheriff are essentially that after allegedly receiving notice of the



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bankruptcy, the Sheriff sought to enforce the writ of possession on six separate occasions. In

fact, Deputy Taylor sought to personally serve a Notice to Vacate once and an Eviction Notice

once, but because personal service could not be made, a copy of each document was posted to

the Property, left in the mail slot of the Property and mailed to the Property. There is no

suggestion that the writ was enforced in a manner that was beyond the scope of the mandate

contained therein, which directed the Sheriff to deliver possession to Defendant Hassan. Nor was

the Sheriff exercising any discretion in enforcing the writ. Thus, even taking the facts as alleged

in the light most favorable to the Plaintiff, quasi-judicial immunity would extend to the Sheriff

under these circumstances.

       B. Execution of the Writ is a Ministerial Act Not Subject to the Automatic Stay

       The Sheriff’s mandate to enforce the writ of possession is so clear that the act of

execution is a ministerial act that is not subject to the automatic stay. Section 362(a)(1) prohibits

the continuation of any prepetition judicial, administrative, or other action against the debtor,

including the issuance or employment of process. 11. U.S.C. § 362(a)(1). However,

“Ministerial acts, even if undertaken post-petition within the context of a judicial or other court

proceeding do not violate the automatic stay, in particular § 362(a)(1).” In re Pulcini, 261 B.R.

836, 834 (Bankr. W.D. Pa. 2001). See also In re Connors, 497 F.3d 314, 321 (3d Cir.2007)

(delivery of sheriff's deed, although conveying legal title, is a ministerial act). In the instant case

it is manded that the Sheriff, “either personally or by deputy, shall serve process and execute

orders directed to him pursuant to law.” 42 Pa.C.S.A. § 2921 (emphasis added). The use of word

“shall” makes execution of the order a ministerial act rather than a judicial function. See e.g., In

re Williams, 371 B.R.102, 111 (Bankr. E.D. Pa. 2007). When an official's duty is delineated by




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law with such crystalline clarity that nothing is left to the exercise of the official's discretion or

judgment, the resultant act is ministerial. In re Soares, 107 F.3d 969, 974 (1st Cir. 1997).

        Ministerial acts are the antithesis of judicial acts as judicial acts involve the exercise of

discretion or judgment. In re Soares, 107 F.3d 969, 974 (1st Cir. 1997). The entry of the

judgment for possession, prior to the filing of Plaintiff’s bankruptcy petition, concluded the

judicial proceedings. What followed with respect to the execution of the writ of possession were

mere ministerial acts following the completion of the judicial function. Rexnord Holdings, Inc. v.

Bidermann, 21 F.3d 522, 528 (2d Cir. 1994); In re Soares, 107 F.3d at 974 (actions taken in

obedience to the judge’s peremptory instructions or otherwise defined and nondiscretionary are

ministerial and do not violate the automatic stay even if taken after an affected party files for

bankruptcy).

        An act is ministerial where the law not only allows it, but demands it. For example, in In

re Williams, 371 B.R. 102 (Bankr. E.D. Pa. 2007), a landlord brought its eviction action before

the Magisterial District Court under Pennsylvania's Landlord Tenant Act, 63 P.S. § 250.101 et

seq. The rules regarding the judgment, entered prior to the tenant’s bankruptcy petition, require

that the landlord first file a request for an Order for Possession. Pa. R.C.P.M.D.J. 515. Chief

Judge Sigmund further noted that:

                  Upon such a request, ‘the magisterial district judge shall issue the
                  order for possession and shall deliver it for service and execution
                  to the sheriff ... The order shall direct the officer executing to
                  deliver actual possession of the real property to the plaintiff.’ Pa.
                  R.C.P.M.D.J. 516 (emphasis added).

Id. at 111. She concluded that in using the word “shall” the Rule makes the issuance and

execution of the order a ministerial act rather than judicial function requiring the exercise of

discretion. Id.



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       The issuance and execution of the writ of possession at issue here were similarly

ministerial. Defendant Hassan filed an ejectment action in the Philadelphia Court of Common

Pleas. Pursuant to the applicable rules of civil procedure, a judgment for possession shall be

enforced by a writ of possession. Pa. R.C.P. No. 3160. The procedure for enforcement of the

judgment for possession shall be in accordance with the rules governing the enforcement of

judgments for the payment of money. Pa. R.C.P. No. 3161. Execution shall be commenced by

filing a praecipe for a writ of execution with the prothonotary of any county in which judgment

has been entered. Pa. R.C.P. No. 3103. Upon issuance of the writ the prothonotary shall transmit

it directly to the sheriff to whom it is directed or deliver it to the plaintiff for transmittal. Pa.

R.C.P. No. 3103. The sheriff shall note on the writ the date and time when it is received. Pa.

R.C.P. No. 3105. All the foregoing acts, ministerial in nature, occurred prior to the Plaintiff filing

his bankruptcy petition. Although the Sheriff did execute on the writ post-petition, he had no

discretion in performing his official duty when executing the writ because, pursuant to statute,

the Sheriff “either personally or by deputy, shall serve process and execute orders directed to

him pursuant to law.” Thus, any post-petition efforts to enforce the writ were also ministerial in

nature and are not in violation of the automatic stay.

       C. Plaintiff Is Not Entitled to Emotional Distress Damages

       The Sheriff's Motion for Summary Judgment should be granted because the Plaintiff may

not seek emotional distress damages against the Sheriff. Furthermore, based on the facts in the

record the Plaintiff would not be able to establish that the alleged actions of the Sheriff caused

him emotional distress such that he could recover emotional distress damages in this case.




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              1. The abrogation of sovereign immunity under 11 U.S.C. § 106(a) to allow a
              “money recovery” against a governmental unit does not permit an award for
              emotional distress damages.

       Congress provided for a limited waiver of sovereign immunity as to governmental units.

11 U.S.C. § 106(a). The abrogation of sovereign immunity, or lack thereof, is applicable to

claims for damages by debtors alleging violations of the automatic stay. 11 U.S.C. §§ 106(a)(1),

362(k). While the Bankruptcy Code allows a court to enter a judgment against a governmental

unit and award a "money recovery," the Bankruptcy Code does not abrogate a governmental

unit's sovereign immunity as to emotional distress damages.

       The First Circuit decision in In re Rivera Torres provides a very thorough review on this

issue. 432 F.3d 20 (1st Cir. 2005). In Torres, the First Circuit Court of Appeals considered the

issue of whether the Bankruptcy Code's abrogation of sovereign immunity to allow "money

recovery" includes the authority to enter a judgment for damages claimed for emotional distress.

Torres involved the violation of a discharge order by the Internal Revenue Service. The court

recognized that other circuits took the position that there was no authority "to support the

proposition that emotional distress is an appropriate item of damages for civil contempt." Id. at

27 (citing Burd v. Walters, 868 F.2d 665, 670 (4th Cir. 1992) (holding that compensation for

emotional distress was not intended as a "device for redressing private injuries"). However, the

First Circuit did not need to reach the same conclusion. Based on the legislative history of the

Bankruptcy Code and the United States Supreme Court's interpretation of the term "money

recovery" under the Administrative Procedures Act, id. at 29 (discussing Bowen v.

Massachusetts, 487 U.S. 879 (1988)), the Court found that Congress did not intend Section

106(a)(3) to abrogate sovereign immunity to allow emotional distress damages. Id. at 31.




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       The U.S. Supreme Court has long held that a waiver of sovereign immunity must be

“unequivocally expressed” by the statutory text. See F.A.A. v. Cooper, 566 U.S. 284, 290 (2012)

(citations omitted). At issue in Cooper was whether the government’s waiver in the Privacy Act

for “actual damages” included recovery for emotional distress damages. Id. The Court reviewed

the “canon of interpretation” that requires that any ambiguities in the statute be construed in

favor of upholding sovereign immunity, and that “ambiguity exists if there is a plausible

interpretation of the statute that would not authorize money damages against the Government.”

Id. at 290-291 (citations omitted). Although there are no specific “magic words” to waive

immunity, the scope of the waiver must be “clearly discernable from the statutory text” using

traditional tools of statutory construction. Id. at 291. If it is not, the sovereign immunity canon of

statutory construction requires that ambiguous language be construed to favor the sovereign. Id.

       In In re Lansaw, 853 F.3d 657 (3d Cir. 2017), cert. denied sub nom. Zokaites v. Lansaw,

138 S.Ct. 1001 (2018), the Third Circuit Court of Appeals considered whether “actual damages”

included emotional distress damages specifically for willful violations of the automatic stay

under 11 U.S.C. 362(k). The facts of the case involved “egregious” violations of the automatic

stay, taken by the landlord of property occupied by the debtors. Id. at 669. The court found that

emotional distress damages were recoverable as “actual damages” under 362(k)(1) for willful

violations of the automatic stay. Id. at 664. The court explicitly noted, however, that the

defendant in that case was not “the federal government nor a state government” and left open

“the question of whether emotional-distress damages may be recovered under § 362(k)(1)” when

examined in the context of the sovereign immunity canon. Id. at 667 n.8.

       A waiver of sovereign immunity may subject the government to some categories, but not

others. Torres, 432 F.3d at 24 (citing Lane v. Pena, 518 U.S. 187, 192 (1996) (“To sustain a



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claim that the Government is liable for awards of monetary damages, the waiver must extend

unambiguously to such monetary claims.”) (emphasis added). As a matter of reading the plain

text, “money recovery” cannot be deemed to include emotional distress damages. Torres, 432

F.3d at 29 (citing Bowen, 487 U.S. 879). The Supreme Court requires that a waiver of sovereign

immunity be unambiguous and that any ambiguous wording be construed in favor of the

sovereign, as discussed at length in Cooper, 566 U.S. 284. Although the Third Circuit has

determined that “actual damages” under Section 362(k)(1), it is reasonable to view the waiver of

sovereign immunity for “money recovery” under Section 106(a) more narrowly. Indeed, the

Third Circuit explicitly constrained their holdings in Lansaw so as not to address the question of

sovereign immunity under Section 106(a).

       Given that the plain text “money recovery” under Section 106(a) does not reveal the

scope of the waiver and is considered ambiguous, principles of statutory construction require that

the ambiguity as to a waiver of sovereign immunity must be resolved in favor of the sovereign.

As such, this Court should find that the waiver under 106(a) for “money recovery” should be

construed to permit pecuniary loss but not to permit recovery for emotional distress.

       Absent a waiver of immunity under 106(a), the Plaintiff’s claim must proceed through the

analysis of the governmental immunity enjoyed by the Sheriff. In the instant case, the Sheriff of

the City of Philadelphia is protected with immunity from liability granted under Pennsylvania’s

Political Subdivision Tort Claims Act (the “Tort Claims Act”), 42 Pa. C.S.A. §§ 8541–64. The

Tort Claims Act confers a general grant of immunity for claims against local agencies:

       Except as otherwise provided in this subchapter, no local agency shall be liable for any
       damages on account of any injury to a person or property caused by any act of the local
       agency or an employee thereof or any other person.




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42 Pa. C.S.A. § 8541. The Tort Claims Act similarly protects employees of local agencies, such

as the Sheriff, with the same immunity so long as they do not engage in willful misconduct,

which is defined as “crime, actual fraud, actual malice or actual misconduct.”’ Gresh v.

Huntingdon Cty., 1:15-CV-1466, 2017 WL 3433658, at *5 (M.D. Pa. Aug. 10, 2017) (quoting 42

Pa. C.S.A. § 8550); see 42 Pa. C.S.A. § 8545; see also Simpson v. Philadelphia Sheriff's Office,

351 F.Supp.3d 919, 925 (E.D. Pa. 2019); LaGuardia v. Ross Twp., CV 3:15-1475, 2016 WL

4502443, at *10 (M.D. Pa. Aug. 29, 2016), aff'd, 705 Fed.Appx. 130 (3d Cir. 2017).

       The Tort Claims Act establishes certain predicates that plaintiffs must establish as well as

eight narrowly defined exceptions to the Sheriff’s state-created grant of general immunity, into

which a plaintiff's cause of action must fall in order to be viable. Mascaro v. Youth Study Center,

523 A.2d 1118 (Pa. 1987) (exceptions to the tort claims act must be narrowly construed).

Plaintiff must demonstrate:

       1.      the alleged damages "would be recoverable under common law or a statute
               creating a cause of action,"

       2.      the "injury was caused by the negligent acts of [a] local agency or an employee
               thereof,” and

       3.      the local agency or an employee thereof was acting within the scope of his office
               or duties.

42 Pa. C.S.A. § 8542(a). The eight exceptions to immunity are enumerated in the Tort Claims

Act as negligence with respect to (1) vehicles; (2) the City's care of a claimant's personal

property; (3) City-owned real property; (4) trees, traffic controls, and street lights; (5) City-

owned utilities; (6) streets; (7) sidewalks, and (8) City-controlled animals.

       In the instant Adversary Proceeding, Plaintiff asserts that the harm caused by the

Sheriff’s conduct has manifested itself in ways such as headaches and loss of sleep that should be

compensated as emotional injuries. Compl. ¶ 64. Plaintiff seeks an award of compensatory and


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punitive damages as well as attorney’s fees and sanctions pursuant to Section 362(k)(1). Compl.

¶ 68. It is undisputed that Deputy Sheriff Taylor visited the property twice to effectuate service

of Defendant Hassan’s Writ of Possession. On those two occasions, when personal service could

not be made, Deputy Taylor posted the notice she was attempting to serve, left a copy in the mail

slot and sent a copy by mail. Even if it is assumed for purposes of the Motion for Summary

Judgment that, in the light most favorable to the Plaintiff, this conduct may be considered

tortious acts in Pennsylvania, they are not delineated in any of the strictly construed (Mascaro)

exceptions to the grant of general immunity conferred upon the Sheriff by the state's Tort Claims

Act. As such, this Court should find that the Sheriff is not liable for damages for emotional

distress.

               2. Plaintiff is not entitled to recover emotional distress damages because
               the Sheriff has not willfully violated the stay under 11 U.S.C. § 362(k).

        The undisputed facts in this case do not establish that the alleged actions of the Sheriff

caused the Plaintiff emotional distress such that he could recover damages for emotional distress

in this case. Plaintiff averred generally in his Complaint as to the nature of his emotional injuries,

Compl. ¶ 64, but has not produced any medical evidence to corroborate the harm or to establish a

causal connection to the Sheriff’s actions.

        It is only when the violations are truly egregious that testimony alone should suffice to

award emotional distress damages. In In re Lansaw, 853 F.3d 657 (3rd Cir. 2017), the court

focused on the egregious nature of the defendant landlord’s violations as a justification for the

award of emotional distress damages. In that case, the defendant personally intruded into the

debtor-plaintiff’s business, despite being denied permission to enter, and physically intimidated

the debtor. 853 F.3d at 661. The defendant then entered the business after hours, chained and

padlocked the doors, and threatened the debtors that he would not let them run their business the


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next day. Id. Later that night, after the debtors had returned to their business to guard it against

the defendant, the defendant returned to lock the debtors in from the outside, leaving debtors to

call the police for rescue. Id. at 662. Lastly, when the debtors were in negotiations with a

different landlord to try and relocate their business, the defendant harassed that landlord and

threatened them with legal action. Id.

       The court noted that, in the absence of “patently egregious” violations, “corroborating

medical evidence may be required to prove emotional harm and causation.” Lansaw, 853 F.3d at

669. Although the court did not define what facts would give rise to such a determination, the

facts of the instant case are markedly different from the “patently egregious” fact pattern in

Lansaw.

       Here, the Sheriff was tasked with enforcing a facially valid court order for writ of

possession. In an attempt to properly notify any potential occupants at the Property, attempt at

personal service was made on two occasions. When personal service could not be had on those

two occasions, notice was posted to the property, left in the mail slot and sent by mail. The Civil

Enforcement Unit had no knowledge that there was a bankruptcy related to the eviction action.

Further, the Sheriff in this context was not acting as a creditor, but rather as is as an arm of the

judicial system, implementing court-related processes. These facts do not rise to a willful

violation of the automatic stay, let alone the egregious nature that would absolve the Plaintiff

from presenting corroborating information of their emotional distress. Yet Plaintiff has presented

zero evidence to corroborate his averments of emotional distress, or to connect the specific

actions of the Sheriff to the alleged harm suffered. In the absence of any factual support, this

Court should dismiss Plaintiff’s claim for emotional distress damages.




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       D. Plaintiff Is Not Entitled to Punitive Damages

       Plaintiff, Lyndel Toppin, also seeks punitive damages against the Sheriff of the City of

Philadelphia. Pursuant to 11 U.S.C. § 106(a)(3), a Court may not issue punitive damages against

a governmental unit. The Bankruptcy Code provides:

       The court may issue against a governmental unit an order, process, or judgment
       under such sections or the Federal Rules of Bankruptcy Procedure, including an
       order or judgment awarding a money recovery, but not including an award of
       punitive damages.

11 U.S.C. § 106(a)(3) (emphasis added).

       The Sheriff is an elected official authorized and established by the Pennsylvania

Constitution. Pa. Const. art. 9, § 4. The Complaint alleges no facts about the Sheriff individually,

but rather makes allegations about the Sheriff acting in his official capacity. As such, this suit

against the Sheriff in his official capacity should be treated as a suit against the Sheriff’s Office.

Simpson v. Philadelphia Sheriff's Office, 351 F.Supp.3d 919, 929 (E.D. Pa. 2019) (citing

Kentucky v. Graham, 473 U.S. 159, 165 (1985); Monell v. N.Y. City Dep’t of Soc. Servs., 436

U.S. 658, 690 n.55 (2018). The Sheriff’s Office is clearly a "governmental unit" as defined by 11

U.S.C. § 101 (27) (‘The term "governmental unit" means United States; State; Commonwealth;

District; Territory; municipality; foreign state; department, agency, or instrumentality of . . . a

State, a Commonwealth, a District, a Territory, a municipality . . .; or other foreign or domestic

government.’). As such, Plaintiff may not seek punitive damages against the Sheriff and this

prayer for relief must be dismissed.

       WHEREFORE, the City of Philadelphia respectfully requests that the Court grant

summary judgment in the Sheriff’s favor, dismiss the Complaint with prejudice and grant such

other and further relief as this Court deems appropriate.




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                                     Respectfully submitted,

                                     THE CITY OF PHILADELPHIA

Dated: December 26, 2019       By:    /s/ Megan N. Harper
                                     MEGAN N. HARPER
                                     Deputy City Solicitor
                                     PA Attorney I.D. 81669
                                     Attorney for the City of Philadelphia
                                     City of Philadelphia Law Department
                                     Municipal Services Building
                                     1401 JFK Boulevard, 5th Floor
                                     Philadelphia, PA 19102-1595
                                     215-686-0503 (phone)
                                     Email: Megan.Harper@phila.gov




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                  Case Case
                       18-00137-mdc   Doc 72-1 Document
                            2:21-cv-05144-WB    Filed 12/26/19  Entered
                                                         4-2 Filed      12/26/19
                                                                   12/16/21 Page18:48:20
                                                                                 94 of 142 Desc
                                             Exhibit A Page 5 of 5
           'RFXPHQWV SGI

                  'RFNHW 7+(6+(5,)) 66$/(6&+('8/(')25+$6%((1&217,18('
                   (QWU\ 817,/ ),/('21%(+$/)2)&,7<2)3+,/$'(/3+,$


          -8/     :5,75(7851),/('                                                      -8/
          $0                                                                               $0
                  'RFNHW
                          6$/(3267321(':5,7180%(5
                   (QWU\


          6(3 127,&(&217,18('           %$.(5-5                                     6(3
          30    6$/('$7(                    *(25*(9                                      30
           'RFXPHQWV SGI

                  'RFNHW 7+(6+(5,)) 66$/(6&+('8/(')25+$6%((1&217,18('
                   (QWU\ 817,/ ),/('21%(+$/)2)&,7<2)3+,/$'(/3+,$


          2&7 6+(5,)) 66$/( 5(                                                       2&7
          $0    :5,76                                                                      $0
                  'RFNHW 3523(57<62/'72$%'(/'$<(0+$66$1)257+(6802)
                   (QWU\ 21:5,7180%(5




                                                                                                                        94
RI                                                                                                      30
       Case Case
            18-00137-mdc   Doc 72-2 Document
                 2:21-cv-05144-WB     Filed 12/26/19
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                                                           12/16/21
                                               in Philadelphia      DocPage18:48:20
                                                                             95 of 142 Desc
                                                                         Id:53294873
                                  Exhibit B Page
                                    11/21/2017 05:01 1
                                                     PMof 6 Page 1 of 6   Rec Fee: $252.00
                                         Receipt#: 17-121162                                 1707-5002
                                         Records Department   Doc Code: DS
                                         State RTT: $343.40 Local RTT: $1,064.54


                    Know         all   Men              these             Presents
                                                  by


THAT   I,Jewell Williams,Sheriffof the County of Philadelphia in the Commonwealth      of Pennsylvania,for

and in consideration of the sum of THIRTY    THOUSAND       AND     XX / 100 [$30,000.00] dollars,to me in


hand paid, do hereby grant and convey toABDELDAYEM         HASSAN     .


                                             DESCRIPTION



BRT#: 031193800
Premises Being:    146 S 62ND ST, PHILADELPHIA,   PA 19139-2928

SEE ATTACHED      LEGAL DESCRIPTION




                                                                                                             95
     Case Case
          18-00137-mdc   Doc 72-2 Document
               2:21-cv-05144-WB    Filed 12/26/19
                                            4-2     Entered
                                                 Filed
                                              53294873   Page12/26/19
                                                       12/16/21
                                                              2 ofPage18:48:20
                                                                       96 of 142
                                                                   6 11/21/2017   Desc
                                                                                05:01 PM
                                Exhibit B Page 2 of 6

The same havingbeen sold,
                        on the5thdayof OctoberAnno Domini Two ThousandSeventeen,   due advertisement,
                                                                               after

        tothelaw,underand by virtue
according                         ofa WritofExecution/DECREE issuedoutoftheCourtofCommon Pleasas of

AprilTerm,Two ThousandFifteen
                            Number T0192asthesuitop




                                     CITY OF PHILADELPHIA


                                                 VS.


                           STANLEY    ZALKIN    AND    ELEANOR   ZALKIN




In witnesswhereof,I have hereunto affixedmy signaturethis9th day of November Anno Domini Two

Thousand Seventeen.



    SEALED AND DELIVERED
      IN THE PRESENCE OF:



Marttun- R eran/a                                                 Jewell Williams, SHERIFF
    Rfr'anks
Marilyn (Nov
           10,
             2017)
Witness
                                                                              BY




F /tats{T&fgr                                             inspecor Richard Verrecahio
Richard  IM2017)
    Tyer(Nov                                                       Verrecchio
                                                                        (Nov
                                                          InspectorRichard 10,
                                                                             2017)
Witness                                                   RichardVerrecchio,
                                                                          RealEstate
                                                                                   Inspector




                                                                                                        96
     Case Case
          18-00137-mdc   Doc 72-2 Document
               2:21-cv-05144-WB    Filed 12/26/19  Entered
                                            4-2 Filed      .12/26/19
                                                      12/16/21 o Page18:48:20
                                                                      97 of 142 Desc
                                Exhibit B Page 3 of 6

             e

            a                                                                           i




                               .




                                                                                             Floor
                                                 2015                 PA19139-2928
                                                                               Philadelphia 5th
                                                 T.      No.                           Dept.
                                                                               of
                                                 Apr.            ST
                                                                                  Verrecchio Street
                                                                 62ND          County           PA19110
                                                                 S
                                                                                        Building
                                                                                           Broad
                                                               Premises:
                                                                  146        the
                                                                    PHILADELPHIA,
                                                                                Richard
                                                                             of
                                                                                        Title
                                                                                     Estate/Settlement
                                                                                           South

                                                                               Sheriff
                                                                                  Captain     100Philadelphia
                                                                                           Land
                                                                                        Real
                                                                                     Witness


            Poll
   5002
1707               SHERIFF   HASSAN
            =
                       TO
      No.
No.No.             Williams,                        ZALKIN

Book
   Writ
      Control      Jewell    ABDELDAYEM
           Deed
                                                    ELEANOR
                                                                                Grantee
                                              VS. AND
                                          PHILADELPHIA
                                          OF

                                                    ZALKIN
                                          CITY                                                    Office
                                                                                within-named
                                                                                      PA19050 SHERIFF
                                                                                theAVENUE Grantee
                                                                                of        the     Sheriff
                                                    STANLEY                               of
                                                                                              Williams,
                                                                                   BARKER behalf
                                                                                Address
                                                                                The309 LANSDOWNE,
                                                                                          On   Jewell
                                                                                                  Philadelphi


                                                                                                      97
     REV-183EX (2-15)
            Case Case
                  18-00137-mdc   Doc 72-2 Document
                       2:21-cv-05144-WB      Filed 12/26/19
                                                      4-2      Entered
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                                                        53294873     Pagt12/26/19
                                                                  12/16/21    Page18:48:20
                                                                                   98 of 142 Desc
                                                                          4 ofBE60BDM888R      OEY
      D      Pennsylvania                Exhibit
                                      REALTY     B   Page
                                                 TRANSFER   4 of 6
                                                                 TAX      state
                                                                             Taxeaid
              DEPARTMENTOF
                        REVENUE                                                BookNumber
                                           STATEMENT        OF    VAWE
              Bureau
                   ofIndividual
                           Taxes                                               PageNumber
                 s r PA17128-0603             See reVerseforinstructions.      Date
                                                                                  Recorded


Completeeachsectionand file
                          induplicate
                                   withRecorderofDeedswhen (1)thefullvalue/consideration
                                                                                     isnotsetforth
                                                                                                 inthedeed,(2)
thedeed iswithout
                consideration
                            orbygift,
                                   or(3)a taxexemptionisclaimed.
                                                               Ifmore spaceisneeded,pleaseattach
                                                                                               additional
                                                                                                        sheets.
A StatementofValue(SOV) isnot requiredifthetransfer
                                                  iswhollyexempt fromtaxbased on familyrelationship
                                                                                                  or publicutility
easement.However,itisrecommendedthata SOV accompanyall documentsfiled
                                                                    forrecording.

A. CORRESPONDENT           - All
                                Inquiriesmay be directedto the followingperson:
 Name                                                                                                  Number
                                                                                                Telephone
 Sheriffofthe County of Philadelphia                                                            (215)686-3530
      Address
 Mailing                                               City                                     State ZIPCode
 Land TitleBuilding100 South Broad Street5th Floor    |Philadelphia                             PA   |19110
B. TRANSFER       DATA                                Date or a-r*=-    ofDocument
 Grantor(s)/Lessor(s)                                      Grantee(s)/Lessee(s)
 JewellWilliams,Sheriff                                    ABDELDAYEM   HASSAN
      Address
 Mailing                                                        Address
                                                           Mailing
 Land TitleBuilding100 South Broad Street5th Floor         309 BARKER AVENUE
 City                                State ZIPCode         City                                 State ZIPCode
 Philadelphia                       |PA   |19110           LANSDOWNE                             PA    19050
C. REAL     ESTATE   LOCATION
 street
     Address                                               City,    Borough
                                                              Township,
 146 S 62ND ST                                            |PHILADELPHIA
 County                             School
                                         District                              TaxParce
                                                                                     INumber
 Philadelphia                                                                  031193800
D. VALUATION            DATA
Was transaction partofan assignmentor relocation? O Y Q N
 1.Actual
       CashConsideration             2.Other
                                           Consideration                       3.Total
                                                                                    Consideration
 $30,000.00                          + $0.00                                   = $30,000.00
 4.County
        Assessed
              Value                  5.CommonLevel
                                                 Ratio
                                                    Factor                     6.Computed
                                                                                       Value
 $34,000.00                          x 1.01                                    = $34,340.00
E. EXEMPTION        DATA - Refer to instructions
                                               forexemption status.
 1a.Amount
         ofExemption
                  Claimed            1b.       ofGrantor's
                                        Percentage     Interest
                                                            inReal
                                                                 Estate        1c.      ofGrantor's
                                                                                 Percentage     Interest
                                                                                                     Conveyed

2.Check Appropriate
                  Box Below forExemptionClaimed.
 O        Willor intestate
                        succession.
                                                            ofDescendant)
                                                        (Name                                  File
                                                                                           (EstateNumber)
 O        Transfertoa trust.(Attachcompletecopy oftrustagreement identifying
                                                                          allbeneficiaries.)
 O        Transferfrom a trust.
                              Date oftransfer
                                            intotrust
          Iftrust
                was amended attacha copy of original
                                                   and amended trust.
 O        Transferbetween principal
                                  and agent/strawpady. (Attachcompletecopy ofagency/strawpady agreement.)
 O        Transferstothe commonwealth, the U.S.and instrumentalities               condemnationorinlieuof
                                                                         dedication,
                                                                  by gift,
          condemnation.(Ifcondemnationor inlieuof condemnation,attachcopy of resolution.)

 O        Transferfrom mortgagortoa holderofa mortgage indefault.
                                                                (Attachcopy of mortgage and note/assignment.)

 O        Corrective
                   or confirmatory
                                 deed. (Attachcompletecopy ofthedeed to be correctedor confirmed.)

 O                                     merger ordivision.
                  corporateconsolidation,
          Statutory                                    (Attachcopy of articles.)

 O        Other (Pleaseexplainexemptionclaimed.)


Under penaltiesoflawor ordinance,
                                IdeclarethatIhave examinedthisStatement,                              and
                                                                               accompanying information,
                                                                       including
tothebestof my knowledgeand belief,itistrue,
                                           correctand complete.
       ofCorrespondent
Signature         orResponsible
                            Party                                                  Date
 TiffanyHarrison                                                                   11/09/2017

FAILURE TO COMPLETE    THIS FORM PROPERLY OR ATTACH              REQUESTED    DOCUMENTATION    MAY RESULT
IN THE RECORDER'S   REFUSAL TO RECORD   THE DEED.
                                                                                                                98
    Case Case
         18-00137-mdc   Doc 72-2 Document
              2:21-cv-05144-WB    Filed 12/26/19
                                           4-2     Entered
                                                Filed
                                             53294873   Page12/26/19
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                                                             5 ofPage18:48:20
                                                                      99 of 142
                                                                  6 11/21/2017   Desc
                                                                               05:01 PM
                               Exhibit B Page 5 of 6


                                                                             BOOKNO.              PAGENO.



              PHILADELPHIA           REAL    ESTATE
            TRANSFER         TAX   CERTIFICATION                       D TERECORDED
                                                                       CITY
                                                                          TAXPAID
         each
  Complete  section
                 andfile
                       induplicate
                                 with
                                    Recorder
                                           ofDeeds
                                                 when(1)thefull
                                                             consideration/value
                                                                          is/is
                                                                             notset
                                                                                  forth
                                                                                     inthedeed, whenthe
                                                                                              (2)     deedis
  with        orbygiIt,
     consideration,  or(3)a tax       isclaimed.
                              exemption       Ifmorespace
                                                        isneeded,
                                                                attach
                                                                    additional
                                                                           sheet(s).
A.CORRESPONDENT -Allinquiries   may bedirectedtothefollowingperson:
NAME                                                                     TELEPHONENUMBER
SheriffoftheCounty ofPhiladelphia                                        (215)686-3530
STREETADDRESS                                               CITY              STATE          ZIPCODE
Land Title Building100SouthBroad Street    5thFloor         Philadelphia      PA             19110
B.TRANFER DATA                                           DATEOFACCEPTANCE
                                                                       OFDOCUMENT:
GRANTOR(8)/LESSOR(8)                                     GRANTEE(8)/LESSEE(8)
JeweIIWilliams, Sheriff                                   ABDELDAYEM    HASSAN
STREETADDRESS                                             STREET
                                                               ADDRESS
Land Title Buildine100SouthBroad Street    5thFloor       309 BARKER AVENUE
UllY                             SIAIE    /..lPCODE      CITY                           STATE    ZIPCODE
Philadelphia                     PA       19110           LANSDOWNE                     PA        19050
C.PROPERTY LOCATION
STREETADDRESS                                             CITY,     BOROUGH
                                                             TOWNSHIP,
146 S 62ND ST                                             PHILADELPHIA
COUNTY                                 SCHOOLDISTRICT                       TAXPARCEL
                                                                                    NUMBER
PHILADELPHIA                                                                031193800
D.VALUATIONDATA
1.ACTUAL
       CASHCONSIDERATION               2.OTHERCONSIDERATION                 3.TOTAL
                                                                                  CONSIDERATION
 $30,000.00                            + $0.00                              = $30,000.00
4.COUNTYASSESSED
               VALUE                   5.COMMONLEVEL RATIO
                                                         FACTOR             6.FAIR
                                                                                 MARKET
                                                                                      VALUE
 $34,000.00                             x 1.01                              = $34,340.00
E.EXEMPTIONDATA
1A.AMOUNTOFEXEMPTION                   1B.PERCENTAGEOFINTEREST
                                                             CONVEYED
                                                                             TransferTax: $1,407.94

2.CheckAppropriate
                Box BelowforExemption
                                    Claimed

     Will
        orintestate
                succession
                                                OFDECEDENT)
                                            (NAME                                    F(LE
                                                                                (ESTATE NUMBER)
     Transfer
           toIndustrial
                   Development
                            Agency.

     Transfer
           toagent
                 orstraw
                       palty.   copyofagency/straw
                           (Attach             paity
                                                   agreement).

     Transfer
           between     andagent.
                 principal          Copyofagency/straw
                               (Attach             trust       Taxpaidprior
                                                       agreement).       deed$

     Transfer
           totheCommonwealth,
                            theUnited    andinstrumentalities
                                    States,                         condemnation
                                                            dedication,
                                                       bygift,                orinlieu
     ofcondemnation.   copyofresolution).
                  (Attach

     Transfer
           frommortgagor
                      toa holder
                               ofa mortgage
                                          inadefault.
                                                   MortgageBookNumber               ,PageNumber
     Moltgagee     soldproperty
             (grantor)       toMortgagor(grantee)    copyofprior
                                               (Attach        deed).
     ColTective
            deed(Attach
                     copyoftheprior
                                 deed).

     Other
         (Please
              explain
                   exemption    ifother
                          claimed,    thanlisted
                                              above.)




  Under     oflaworordinance,
      penalties            Ideclare
                                 that
                                    Ihaveexamined
                                               this
                                                  Statement.
                                                         including
                                                               accompanying     andtothebest
                                                                        information,       of
           andbelief
  mylawwledge      itistrue,
                          correct
                               andcomplete.
 SIGNATUREOF
         CORRESPONDENT ORRESPONSIBLE
                                  PARTY                                    DATE
       Harrison
 Tiffany                                                                          11/9/2017




                                                                                                               99
     CaseCase
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                                                 Filed   Page12/26/19
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                                                              6 of    18:48:20
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                                                                   6 11/21/2017   Desc
                                                                                05:01 PM
                                 Exhibit B Page 6 of 6

                                                                         BRT/OPA #:     031193800
                                        Legal Description

                               139'3"S OF SAS^OM    15'4"X 94'5"
AssessedLegalDescription:
                              4"X 94'5-7/8"
         LegalDescription: 15'
Abbreviated
                                                                                              146 S 62ND ST
Actual               forPremises:
      LegalDescription
                                 thernessuage
                              with
                       ofground                            erected.
                                                     thereon
                                            ortenement
ALLTHATCERTAIN   orpiece
               lot
                                                              from
                                                      Southward
                                                3inches                     ofSansomStreet.
                                                                         side
                                                                  theSouth
       ontheWestside
                   of62ndStreet         of138feet
                             atthedistance
SITUATE                                                                                         with62ndStreet
                                                             width
                                                        ofthat         ordepth
                                                                 inlength             atright
                                                                             Westwanlly    angles
                orbreadth
          infront                      4inches
                                  15feet
                       on62ndStreet           andextending                          Street.
                                                                               Walnut
CONTAINING                              NonhwardandSouthward     Sansom
                                                           between         and
                                                                       Street
     5-7/8
94feet                3feet
              toacenain
         inches            wideaIIey
                                  leading



                                                                                D byDeeddated
                                                                     ofWashington,            02/01/1978
                           Roberts
                      Patrcia    Harris.      ofHousing
                                      Secretary             Development,
                                                     andUrban                       h/w infee.
                  which
BEINGthesamepremises                                           unto         andEleanor,
                                                                        Zalkin
                                                                  Stanley
                           inDeedBookDCC 1603-269granted
                 atPhiladelphia
         03/08/1978
andrecorded
                                                      andconveyed




                                                                                           Case ID: 1504T0192




                                                                                                                 100
8/13/2019      CaseCase
                   18-00137-mdc    Doc 72-3Document
                        2:21-cv-05144-WB     Filed 12/26/19
                                                     4-2Docket
                                                     Civil     Entered
                                                           Filed        12/26/19
                                                                  12/16/21
                                                               Report       Page18:48:20
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                                           Exhibit C Page 1 of 3
                                                                                                      No Items in Cart              jdomer

                                                                                                                 Civil Docket Report
                                                                          A $5 Convenience fee will be added to the transaction at checkout.
  Case Description

    Case ID:                 180103400
    Case Caption:            HASSAN VS UNKNOWN OCCUPANTS
    Filing Date:             Monday , January 22nd, 2018
    Court:                   RENT, LEASE & EJECTMENT
    Location:                City Hall
    Jury:                    NON JURY
    Case Type:               EJECTMENT
    Status:                  JUDGMENT BY DEFAULT/FINAL DISP

  Related Cases

  No related cases were found.

  Case Event Schedule

  No case events were found.

  Case motions

  No case motions were found.

  Case Parties

          Seq #                                     Assoc Expn Date Type                            Name
                 1                                                            PLAINTIFF             HASSAN, ABDELDYEM
    Address: 309 BARKER AVE                                          Aliases: none
             LANSDOWNE PA 19050


                 2                                                            DEFENDANT             UNKNOWN OCCUPANT
    Address: 146 S 62ND ST                                           Aliases: none
             PHILADELPHIA PA 19139


                 3                                                            TEAM LEADER SHIRDAN-HARRIS, LISETTE
    Address: 692 CITY HALL                                           Aliases: none
             PHILADELPHIA PA 19107


                 4                                                            JUDGE                 ANDERS, DANIEL J
    Address: ROOM 292 CITY HALL                                      Aliases: none
             PHILADELPHIA PA 19107

https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                                                 101
                                                                                                                                         1/3
8/13/2019      CaseCase
                   18-00137-mdc    Doc 72-3Document
                        2:21-cv-05144-WB     Filed 12/26/19
                                                     4-2Docket
                                                     Civil     Entered
                                                           Filed        12/26/19
                                                                  12/16/21
                                                               Report       Page18:48:20
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  Docket Entries

   Filing                                                                                Disposition Approval/
                           Docket Type                                    Filing Party
   Date/Time                                                                                Amount Entry Date
   22-JAN-2018             ACTIVE CASE                                                              22-JAN-2018
   03:24 PM                                                                                         03:24 PM
              Docket
                      none.
               Entry:


   22-JAN-2018             COMPLAINT FILED NOTICE                         HASSAN,                   22-JAN-2018
   03:27 PM                GIVEN                                          ABDELDYEM                 12:00 AM
     Documents: CMPLC_2.pdf
                            CMPLC_2_001.pdf

              Docket COMPLAINT WITH NOTICE TO DEFEND WITHIN TWENTY (20) DAYS AFTER
               Entry: SERVICE IN ACCORDANCE WITH RULE 1018.1 FILED.


   23-JAN-2018             WAITING TO LIST CASE                                                     23-JAN-2018
   04:36 PM                MGMT CONF                                                                04:36 PM
              Docket
                      none.
               Entry:


   29-JAN-2018             AFFIDAVIT OF SERVICE                           HASSAN,                   29-JAN-2018
   10:49 AM                FILED                                          ABDELDYEM                 12:00 AM
     Documents: AFDVT_4.pdf

              Docket AFFIDAVIT OF SERVICE OF COMPLAINT SERVED ON UNKNOWN OCCUPANTS
               Entry: 1/27/18, 6:00PM AT 146 S 62ND ST PHILA PA 19139.


   05-APR-2018             JUDGMENT BY                                    HASSAN,                   05-APR-2018
   04:09 PM                DEFAULT/FINAL DISP                             ABDELDYEM                 12:00 AM
     Documents: JDDFF_5.pdf

              Docket
                      none.
               Entry:


   05-APR-2018             MOTION FOR WRIT OF                             HASSAN,                   05-APR-2018
   04:44 PM                POSSESSION                                     ABDELDYEM                 12:00 AM
     Documents: MTWPS_6.pdf

              Docket 73-18045073 MOTION FOR WRIT OF POSSESSION FILED. RESPONSE DATE: 25-
               Entry: APR-2018.

https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                           102
                                                                                                                   2/3
8/13/2019      CaseCase
                   18-00137-mdc    Doc 72-3Document
                        2:21-cv-05144-WB     Filed 12/26/19
                                                     4-2Docket
                                                     Civil     Entered
                                                           Filed        12/26/19
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                                                                                 103 of 142Desc
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   27-APR-2018             MOTION ASSIGNED                                                 27-APR-2018
   11:36 AM                                                                                11:36 AM
              Docket 73-18045073 MOTION FOR WRIT OF POSSESSION ASSIGNED TO JUDGE:
               Entry: ANDERS, DANIEL J. ON DATE: APRIL 27, 2018


   30-APR-2018             ORDER ENTERED/236                              ANDERS, DANIEL   30-APR-2018
   10:59 AM                NOTICE GIVEN                                   J                10:59 AM
     Documents: ORDER_8.pdf

                      73-18045073 IT IS HEREBY ORDERED THAT THE MOTION IS GRANTED. IT IS
                      FURTHER ORDERED THAT THE OFFICE OF JUDICIAL RECORDS FOR THE
              Docket
                      FIRST JUDICIAL DISTRICT IS DIRECTED TO ISSUE A WRIT OF POSSESSION
               Entry:
                      FOR THE REAL PROPERTY LOCATED AT 146 S. 62ND STREET, PHILA., PA 19139
                      UPON PRAECIPE OF PLAINTIFF. ...BY THE COURT':ANDERS , J., 4/27/2018


   30-APR-2018             NOTICE GIVEN UNDER                                              30-APR-2018
   10:59 AM                RULE 236                                                        01:16 PM
              Docket NOTICE GIVEN ON 30-APR-2018 OF ORDER ENTERED/236 NOTICE GIVEN
               Entry: ENTERED ON 30-APR-2018.


   07-MAY-2018             PRAECIPE - WRIT OF                             HASSAN,          07-MAY-2018
   04:07 PM                POSSESSION                                     ABDELDYEM        12:00 AM
     Documents: WRPOS_10.pdf

              Docket PRAECIPE FOR WRIT OF POSSESSION (RE) FILED. WRIT OF POSSESSION (RE)
               Entry: ***. SUBJECT PREMISES: 146 S 62ND ST. PHILA., PA 19139.




                                                           E-Filing System   Search Home




https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                              103
                                                                                                      3/3
CaseCase
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                                                                                104
CaseCase
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                                      4-2 Filed       12/26/19
                                                12/16/21  Page18:48:20
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CaseCase
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CaseCase
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CaseCase
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       3KLODGHOSKLD6KHULII V2IILFHDVVLJQHGWRWKH&LYLO
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         :HHQIRUFHFLYLOFRPSODLQWVZKLFK
         LQFOXGHZULWSRVVHVVLRQVZKHWKHUWKH\DUH
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        $,ZDVDVVLJQHGWRWKH)XJLWLYH:DUUDQW
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        \RXUHDOO\KDGQRWKLQJWRGRZLWK&LYLO(QIRUFHPHQW
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        SROLFLHVDQGSURFHGXUHVFKDQJHIURPWKHWLPHWKDW\RX
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        ,WZDVVLPXOWDQHRXV
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        DQ\VSHFLILFSKRQHOLQHRUWROOIUHHQXPEHURUPD\EH
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       ZKDWJHQHUDOO\KDSSHQV\RXNQRZZLWKUHVSHFWWR
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       ,W VDFWXDOO\ZHVSHDNZLWKRXU
       VXSHULRUVDQGWKH\H[SODLQGXULQJWKHWUDLQLQJ
       SURFHVVEHIRUH\RXDUHVRUWRIIRUODFNRIDEHWWHU
       ZRUGRQ\RXURZQWRHQIRUFHFRXUWRUGHUV
       46RLW VVRPHWKLQJWKDW\RXZHUHWUDLQHG
       RQDVDSDUWRI\RXULQLWLDOWUDLQLQJSURFHVV"


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       WDNHVDFWLRQWRHLWKHUHYLFWRUVHUYHWKDWLVQRW
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       QRWLFHWRYDFDWHLVLWQRWRQO\FXVWRPDU\WRSRVWLW
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                                                                              LW
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           -HWDULD7D\ORUKDYLQJEHHQGXO\VZRUQZDVH[DPLQHG                 VXFK"
           DQGWHVWLILHGDVIROORZV                                            $<HV
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           4*RRGDIWHUQRRQ0V7D\ORU                             RUKRZGRHVWKDWZRUN"
           , P&RXQVHO)LOLSRYLFIRU/\QGHO7RSSLQ                $,JRDORQHDVIDUDVSRVWLQJVEXW,
           DQGFRFRXQVHOLV6WHSKHQ'XQQH:H UHJRLQJWREH                  KDYHDSDUWQHUZKHQ,GRWKHDFWXDOHYLFWLRQ
           FRQGXFWLQJWKLVGHSRVLWLRQ                                          4'R\RXWDNHDYHKLFOH"
           7KHUXOHV,KDYHWRUHSHDWWKHPIRU                   $<HV
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          EHVXFFLQFW                                                        4)RUG7DXUXV"
          :KHQ\RXDQVZHUSOHDVHGRVRYHUEDOO\               $8KKXKSHUVRQDOYHKLFOH
          VRWKHFRXUWUHSRUWHUFDQZULWHWKHDQVZHUVGRZQIRU                43HUVRQDOYHKLFOH"
          WKHUHFRUGDQG,FDQXQGHUVWDQG\RXUJHVWXUHVEXW                $<HV
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          ,I\RXVKRXOGDWDQ\SRLQWZDQWPHWR               RQWKHUH"
          FODULI\DTXHVWLRQ,ZLOOWRWKHEHVWRIP\                       $1R
          DELOLW\DQGZH OOJRIURPWKHUH                                   4$UH\RXJHQHUDOO\ZHDULQJDXQLIRUP"
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          WKLVRQHFRXQVHO"                                                  WRGD\
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       WKHQWUDYHOLQDPDUNHGYHKLFOHRULVLWVWLOO               EDQNUXSWF\
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       $1RVWLOOSHUVRQDOYHKLFOHV                    $,JXHVVFRQWLQXHGVHUYLFHRQWKLV
       47ZRSHUVRQDOYHKLFOHV"                          SDUWLFXODUDGGUHVVDIWHUEDQNUXSWF\
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       4,VWKDWWKHVDPHSUDFWLFHWKDWZDV              RIVHUYLFLQJWKLVZULW"
       HPSOR\HGEHWZHHQ0D\DQG-XQHRIODVW\HDU"                  $<HV
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      DVNHGWRVKRZLW"                                           40\TXHVWLRQWR\RX0V7D\ORULI\RX
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      GR\RXDIIL[LWWRWKHGRRU"                                $7KH\DUHWKHLQLWLDOQRWLFHWRYDFDWH
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      $7ZRPLQXWHVLIWKDW                          4&RXOG\RXEHVSHFLILFDQGUHIHUWRWKHP
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        WKHQRWLFHWRYDFDWHEXWZHGLGQ WKDYHDQ\PRUHVR        7KHQ\RXKDYH36ZKLFKLVWKH
        LWZRXOGMXVWEHDSKRWRFRS\RIWKDW                       DFWXDOHYLFWLRQQRWLFHDWWDFKHGZLWKWKHZULW
        :HGLGQ WKDYHFRORU                         36LVDQHQYHORSHZLWKWKHDQQXDO
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       DQGWKHSDUWLFXODUSURSHUW\LVDW6RXWKQG           4<RXWHVWLILHGWKDW\RXZHUHLQFKDUJHRI
       6WUHHW                                                    VHUYLFLQJWKH/\QGHO7RSSLQHYLFWLRQVDQGQRWLFHVWR
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       GLG                                                                 $<RX UHDVNLQJPHDERXWDGDWH
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      <RXZHUHWKHGHSXW\WKDWSRVWHGWKHVH                 KDGJRQHRXW\RXZRXOGKDYHGRQHLWLQDSHUVRQDO
      RQWKHSUHPLVHV"                                                    YHKLFOH"
      $<HV                                                   $<HV
      4$W6RXWKQG6WUHHW"                              4'R\RXJHWUHLPEXUVHGIRUPLOHDJHIRU
      $<HV                                                   WKHVHWULSV"


                                                              3DJH                                                3DJH
         4+RZPDQ\GDWHVDUHZHWDONLQJDERXW                  $<HV
         KHUHIRU\RXWRKDYHSRVWHGWKHVH"                               47RJHWUHLPEXUVHGIRUPLOHDJH\RX
         $,ZRXOGKDYHRQO\ZHQWRXWWZLFH                    VXEPLWDORJRIWLPHVDQGGDWHVZKHQ\RXWUDYHOHG"
         2QFHZDVIRUWKHLQLWLDOQRWLFHDQG                 $,W VQRWDORJLW VWKHGDWHDQGWKHQ
         RQFHZDVIRUWKHILQDOQRWLFH                                    WKHPLOHDJH
         4:KDWDERXWWKHOHWWHU"                               48KKXK
         $(YHU\WLPHZHGRDSRVWLQJ\RXPDLORQH             ,VWKLVLQDGRFXPHQW"
         RXW\RXSRVWRQHWRWKHGRRUDQGWKHQ\RXSXWRQH               $<HV
         LQWKHPDLOER[                                                   4$QG\RXILOOHGRXWDGRFXPHQWRIVRPH
        6RHVVHQWLDOO\HDFKWLPH\RXJLYH               VRUWWRJHWUHLPEXUVHG"
        WKUHHQRWLFHV                                                   $<HV
        47KUHHQRWLFHVRUWKUHHDWWHPSWVWR                   5(48(67 05),/,329,&&RXQVHOZH UHJRLQJWR
        QRWLI\ULJKWZKDWHYHU\RXZDQWWRFDOOLW"                     EHUHTXHVWLQJWKDWGRFXPHQWEHFDXVHWKHUHLVDQLVVXH
        $<HV                                                DERXW\RXNQRZVKHGRHVQ WDJUHHWRWKDWGDWHDQG
        4%XWWKHUHZDVWKUHHHDFKWLPH\RXZHQW              ZHFRQWHQGWKHUHLVDQLVVXH
        RXW"                                                             06+$53(5,ZLOODVNDIROORZXS
        $<HV                                                TXHVWLRQEXWWKDW VILQH
        41RZOHW VJRZLWK36                            %<05),/,329,&
        'R\RXVHHWKHGDWHWKDWLVLQWKH                 4'R\RXFDOOWKHPH[SHQVHUHSRUWVRUKRZ
        ERWWRPFRUQHUWKHUH"                                             GR\RXUHIHUWRWKHP"
        $<HV                                                $0LOHDJHIRUP
        4'RHVWKDWVRXQGDFFXUDWHWKDWWKDWZDV             06+$53(5<RX UHJRLQJWRDVNIRU
        WKHILUVWWLPH\RXZHQWRXW"                                     WKDWWRGD\DWWKLVGHSRVLWLRQ"
        $7KDWGRHVQ WORRNOLNHP\KDQGZULWLQJ              05),/,329,&&RUUHFW
        4,GLGQ WVD\LWZDV\RXUKDQGZULWLQJ               06+$53(57KDW VILQH



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                                                  -HWDULD7D\ORU
                                                  3DJH                                                     3DJH
        %<05),/,329,&                                           WKDWSDUWLFXODUSRVWLQJVXFKDVWKHRQHWKDWZHVHH
        46RWKHPLOHDJHIRUPZRXOGKDYHQRWDWLRQV       LQ36WKDW\RXMXVWUHDGIURP"
        RIWKHWLPHVDQGGDWHVWKDW\RXZHQWRXW                   $1R
        'RHVLWKDYHWKHDGGUHVV"                     4$UHWKHUHDQ\RWKHUWLPHVWKDW\RXZHQW
        $1R                                            WRWKHSURSHUW\WKDW\RXGLGQRWHQWHULQWRWKH
        4:KDWGRHVLWKDYH"                             -HZHOOV\VWHP"
        $,WKDVWKHGDWHDQGKRZPDQ\PLOHV,GLG       $1R
        IRUWKHGD\                                                41RZWKHQRWLFHWRYDFDWHWKDW\RX
        4,VWKHUHDVKHULII VQXPEHURU              VHUYHGRUSRVWHGRQWKHSURSHUW\RQ0D\WKFDQ\RX
       $1R                                           ILQGLWRUGR\RXVHHLWLQIURQWRI\RXLQDQ\RI
       41R"                                           WKHVHGRFXPHQWV"
       $1R                                           $,WZRXOGEHRQHRIWKHVH LQGLFDWLQJ 
       4+RZGR\RXMXVWDGDWHDQGKRZPDQ\        4:HOOFDQ\RXWHOOPHZKLFKRQH
       PLOHV\RXGLGIRUWKHGD\"                                 DFFRUGLQJWRLWVQXPEHU"
       $<HV                                          7KHRQH\RXDUHKROGLQJXSQRZZKDWLV
       06+$53(5'R\RXVWLOOQHHGWKDW          WKHQXPEHU"
       GRFXPHQW"                                                  $36
       05),/,329,&<HV                         436"
       06+$53(5:H OOVHHLILWZDV             $8KKXK
       UHTXHVWHGLQGLVFRYHU\                                    47KDQN\RX
       05),/,329,&:HFDQDUJXHDERXW           :KDWDERXWWKHHYLFWLRQQRWLFHRQWKH
       WKDW                                                      SURSHUW\WKDW\RXVHUYHGLQ-XQHGR\RXVHHLWLQ
       :KHQZRXOG\RXVD\ZDVWKHILUVWWLPH        IURQWRI\RXWKHUH"
       \RXZHQWRXW"                                              $/HWPHMXVWFODULI\EHFDXVHJRLQJEDFN
       7+(:,71(66, PQRWVXUH                  WRWKHLQLWLDORQHV\RXDVNHGPHDERXW,FDQ WWHOO


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        %<05),/,329,&                                           \RXZKLFKRQHZDVSRVWHGEHFDXVHWKHVHKDYHWZR
        4&DQZHDJUHHWKDW\RXZHQWRXWRQ              GLIIHUHQWGDWHVRQLWEXWLWZRXOGKDYHEHHQDQ\RQH
        "                                                  RIWKHVHWKDWVD\QRWLFHWRYDFDWH LQGLFDWLQJ 
        $,IWKDWLVZKDWLVLQWKHORJWKHQ\HV       45LJKWRND\
        4/HW VJRWR36                             $$QGWKHQIRUWKHILQDOSRVWLQJLW
        7KHPLGGOHRIWKHSDJHLWKDVDGDWH         ZRXOGKDYHEHHQDQ\RQHRIWKHVHZHOOQRWWKLV
        RI0D\WKFRUUHFW"                                 RQHEHFDXVHWKDWKDVDQHQYHORSHVRWKDWZDVPDLOHG
        $<HV                                           RXW LQGLFDWLQJ 
        47KHUHLVDQRWHWKHUH                         4:KHQ\RXVD\WKLVRQH
       &RXOG\RXUHDGLWIRUWKHUHFRUG"            $, PVRUU\36RU36
       $'HSXW\-HWDULD7D\ORUEHLQJGXO\VZRUQ       4,WFRXOGEHRQHRIWKRVH"
       DFFRUGLQJWRODZSRVWHGRQHWUXHDQGDWWHVWHGFRS\        $,W VHLWKHURQHRIWKHVH\HV
       RIWKHZLWKLQZULWRISRVVHVVLRQXSRQUHDOHVWDWH           LQGLFDWLQJ 
       ORFDWHGDW6RXWKQG6WUHHW3KLODGHOSKLD3$         4,W VHLWKHURQHRIWKRVHWKDW\RX
       DQGWKHQH[WRQHVD\VGD\QRWLFHSRVWHG         SRVWHG"
       4'LG\RXHQWHUWKLVQRWH"                      $<HV
       $<HV                                          4:KLFKRQHLVQRWWKHRQHWKDWZDV
       4,WVRXQGVOLNH\RXZHQWRXWHDUOLHUWKDQ      SRVWHG"
       0D\WKLIWKLVLVGDWHG0D\WK                        $36ZDVPDLOHGRXW
       $<HV                                          42ND\WKDQN\RX
       4:KDWDERXWRQ-XQHVWGLG\RXSRVWDQ      :KDWLVWKHGDWHRQ36"
       HYLFWLRQQRWLFHRQWKHSURSHUW\DW6RXWKQG          $$UH\RXDVNLQJDERXWWKHHQYHORSH"
       6WUHHW"                                                    4<HV
       $<HV                                          $-XQHWK
       4'LG\RXHQWHUDQRWHLQWKHV\VWHPDERXW      4'LG\RXUHSRUWWR,QVSHFWRU*XHVVDW


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                                                -HWDULD7D\ORU
                                                3DJH                                                      3DJH
       $/HWPHFODULI\                                LQIRUPDWLRQ
       $FFRUGLQJWRWKHGRFXPHQW,SXWLQWR          4<RXGRQ WKDYHDFFHVV"
       WKH-HZHOOV\VWHPWKHRQHWLPH,ZHQWRXWLWZDV          $1R
       DP                                                   4:KRLVZH"
       4<RXDUHWDONLQJDERXW                       $&LYLO(QIRUFHPHQW8QLW
       $36                                         , PQRWDEOHWRJRLQWRP\V\VWHPDQG
       4<RXJDWKHUHGWKDWIURPWLPHRXW"         SXOOWKLVXS
       $<HV                                           7KLVLVQ W&LYLO(QIRUFHPHQW8QLW
       4,WVD\VKHUHPLOHDJH]HUR"                   VWXII
      $:HGRQ WLQVHUWRXUPLOHDJHLQWRWKH          7KLVORRNVOLNHUHDOHVWDWHVWXII
      FRPSXWHU                                                  4%XWLW VWKH6KHULII V2IILFHRI
      4, PUHDGLQJZKDWLWVD\VKHUH                3KLODGHOSKLD&RXQW\"
      $2ND\                                         $:HVWLOOGRQ W,FDQ WVHHLQWR
       5(48(67 05),/,329,&,QDGGLWLRQWRWKH           VRPHERG\HOVH VV\VWHP
      PLOHDJHIRUPZHZRXOGDOVROLNHWRUHTXHVWWKH            4:RXOGLWKDYHEHHQKHOSIXOIRU\RXWREH
      HPSOR\HHVLJQLQVKHHWEHWZHHQ0D\WKDQG-XQHWK       DEOHWRVHHWKDWWKHUHZDVDEDQNUXSWF\ILOHG"
      RI                                                   $7\SLFDOO\LILW VDEDQNUXSWF\ZH
      06+$53(58KKXK                         UHFHLYHWKHLQIRUPDWLRQ
      %<05),/,329,&                                          4%XW\RXGLGQ WLQWKLVFDVH"
      4+DYH\RXHYHUVHHQ0U7RSSLQ"                $1R
      $1R                                           4:KRGR\RXUHFHLYHLWIURP"
      4:KDWDERXWDQ\ERG\HOVHDWWKDWKRPH"         $,WGHSHQGV
      $1R                                           6RPHWLPHVWKHGHIHQGDQWZLOOID[RYHU
      4,Q\RXUFRQYHUVDWLRQVZLWK\RXU               VRPHWKLQJRUWKH\ZLOOEULQJXVVRPHWKLQJ,IWKH\
      VXSHUYLVRUVGLG\RXHYHUGLVFXVVWKLVFDVHZLWK\RXU      JHWVRPHWKLQJLQDQRWKHUGLYLVLRQWKH\ OOJLYHLWWR


                                                3DJH                                                      3DJH
       VXSHUYLVRUV"                                                XV
       7REHFOHDU, PQRWWDONLQJDERXWWKLV       4$QRWKHUGLYLVLRQZLOOJLYHLWWR\RX"
       OLWLJDWLRQQRZ, PWDONLQJDERXWWKHFDVHRIVHUYLFH       $<HV
       RIWKLVSDSHUZRUNZLWK\RXUVXSHUYLVRUV                    4$QG\RXGLGQ WJHWDQ\WKLQJIURPDQ\ERG\
       $1R                                            LQWKLVFDVH"
       4'LGDQ\RQHRIWKHPHYHUWHOO\RXWKDW         $1R
       WKHEDQNUXSWF\ZDVILOHG"                                   4$WWKHWLPH"
       $1R                                            $1RDQGZHZRXOGRQO\JHWVRPHWKLQJIURP
       /HWPHFODULI\                               DQRWKHUGLYLVLRQLIWKH\NQHZLWZDVDQHYLFWLRQ
      ,RQO\JRWWKDWLQIRUPDWLRQDIWHUZH         7KLVKHUHORRNVOLNHDOOVKHULII VVDOH
      ZHUHLQIRUPHGDERXWWKHOLWLJDWLRQEXWSULRUWR          VWXIIZKLFKDUHWZRGLIIHUHQWWKLQJV LQGLFDWLQJ 
      WKDW,GLGQ WNQRZDERXWWKHEDQNUXSWF\                  4'R\RXNQRZWKHEDQNUXSWF\ODZZLWKLQ
      4:KHQ\RXVD\\RXRQO\JRWWKH                 \RXURZQULJKW"
      LQIRUPDWLRQZKDWLQIRUPDWLRQGLG\RXJHW"                 'R\RXNQRZZKDWKDSSHQVWRWKH
      $,QWHUPVRIDEDQNUXSWF\ZDVILOHG           HIIHFWLYHEDQNUXSWF\"
      4,I\RXUHIHUWR36WKLVGRFXPHQWLW      ,W VWKHVDPHTXHVWLRQ,DVNHG
      VD\V6KHULII V5HWXUQRI6HUYLFHRQLW"                    /LHXWHQDQW7KRUQWRQ
      $<HV                                          $,IWKH\ILOH"
      4$QGWKHJHQWOHPDQKHUH/LHXWHQDQW           4<HV
      7KRUQWRQ,EHOLHYHWHVWLILHGWKDWWKLVLVLQWKH         $<HV
      -HZHOOV\VWHPDQG,ZLOOGLUHFW\RXWRWKLVHQWU\RI      4:KDWLVLW"
      0D\WK                                             $:HDUHWRVWRSDOODFWLRQXQOHVVWKHUH
      :RXOGWKLVKDYHEHHQDYDLODEOHWR\RXU       LVDEDURUGHU
      VXSHUYLVRUWKHLQIRUPDWLRQWKDWLVRQWKLVGRFXPHQW"      4$OODFWLRQ"
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       4$OODFWLRQWR\RXGRHVWKDWPHDQ                       EODQNDQGWKHQWKLVLQIRUPDWLRQDERXWFDQFHOOHGSHU
       HYLFWLRQ"                                                             GHIHQGDQWILOHGEDQNUXSWF\WKDWLQIRUPDWLRQZDVQ W
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       IDOOZLWKLQDOODFWLRQ"                                               $2Q0D\WK\HVQHLWKHURQHRIWKRVH
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      KDYHDQ\RWKHUTXHVWLRQVIRU\RX                                    $, PQRWVXUH
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      DWZKDWLVPDUNHG36                                              LQIRUPDWLRQLQEXWWKLVZDVDIWHUWKH0D\WKGDWH
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      WKDWDSSHDUVRQWKHHQYHORSH                                        4:HWDONHGDERXWWZRLQVWDQFHVZKHUH\RX
      'R\RXVHHWKDW"                                       ZHQWWRWKHSURSHUW\DW6RXWKQG6WUHHW
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      4'R\RXNQRZZKRZURWHWKDW"                             UHFRUGWKDWLVPDUNHG36LVWKDWFRUUHFW"


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       DQ\WKLQJHOVH                                                        NHSWZLWKUHVSHFWWRWKDWDFWLYLW\"
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       &RUUHFWPHLI, PZURQJ36\RX                     $,ZRXOGXVHDIRUPWKDWZHKDYHWRILOO
       VDLGWKDW\RXZURWHLQWKHQRWHV"                                     RXWDQG\RXKDYHWRSXWGRZQWKHILUVWWLPH\RXJR
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      4:KDWQRWHVGLG\RXZULWH"                               \RXKHUHWRGD\EXWGR\RXEHOLHYH\RXGLGILOORXW
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      GLGQ WUHDOO\KDYHWRZULWHDQ\WKLQJ                                $<HV
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      LV                                                                NHHSDUHFRUGRIWLPHV\RXJRWRDSURSHUW\"
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      UHSRUWHUFDQWDNHLWGRZQ"                                           ,NHHSDUHFRUGLQP\SKRQH
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      SUHUHFRUGHGLQWKHV\VWHP,JXHVVVRWKHRQO\                     4-XVWOLPLWHGTXHVWLRQVEDVHGRQO\RQ
      WKLQJ,KDYHWRGRLVSXWP\QDPHLQWRWKHGURSGRZQ                 ZKDWZDVQRZGLVFXVVHG
      ER[DQGRQFH,SXWLQP\QDPHLWJRHVWRWKHVLJQ                 <RXNHHSLWLQ\RXUSHUVRQDOSKRQH
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      ,HQWHUHGWKHGD\QRWLFHRQ0D\WKZHGLGQ W                   $0\SHUVRQDOSKRQH
      KDYHDSRVVHVVLRQGDWHDWWKDWWLPHVRWKDWVSRWZDV                4$VIDUDV36GLG\RXUHYLHZERWK



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       VXFKDV\RXUQDPHDQGEHLQJGXO\VZRUQDFFRUGLQJWR      
       ODZ                                                     
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       LQVLGH"                                                     &RXUW5HSRUWHUGRKHUHE\FHUWLI\WKDWWKHIRUHJRLQJ
       $8KKXK
                                                                    LVDWUXHDQGDFFXUDWHWUDQVFULSWRIWKHWHVWLPRQ\DV
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       WRZKHUHLWLVSRVWHG"
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      47KDQNV                                       RIWKHSDUWLHVWRWKLVDFWLRQDQGWKDW,DPQHLWKHU
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      WKHRQHWKDW\RXSULQWHGDQGZKDWZDVSUHSULQWHG           DQGWKDW,DPQRWILQDQFLDOO\LQWHUHVWHGLQWKH
      EHIRUH\RXHQWHUHGLW"                                     DFWLRQ
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      VD\VSRVWHG                                          
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      VD\                                                         /RUL$3RUWR&&5
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      DQVZHUP\TXHVWLRQV                                         &HUWLILFDWH1R;,
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       ZURWHLQWKHSRVVHVVLRQGDWH"
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      4:RXOGWKH-HZHOOV\VWHPEHDEOHWR
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      OHW VVD\"
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                                              United States Bankruptcy Court
                                            Eastern District of Pennsylvania
In re:                                                                                                     Case No. 18-13098-mdc
Lyndel Toppin                                                                                              Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0313-2                  User: dlv                          Page 1 of 1                          Date Rcvd: May 29, 2018
                                      Form ID: 309I                      Total Noticed: 19


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 31, 2018.
db             +Lyndel Toppin,   146 S. 62nd Street,     Philadelphia, PA 19139-2928
14104029       +Abdeldayem Hassan,    309 Barker Avenue,    Lansdowne, PA 19050-1215
14104033       +City of Philadelphia,    Lockbox # 1087,    PO BOX 8500,   Philadelphia, PA 19178-8500
14104035       +FIRST FEDERAL CREDIT & COLLECTIONS,    24700 CHAGRIN BLVD,    SUITE 205,
                 CLEVELAND, OH 44122-5662
14104036       +FIRST FEDERAL CREDIT & COLLECTIONS,    24700 CHAGRIN BLVD STE 2,     CLEVELAND, OH 44122-5662
14104037       +GRB Law,   1425 Spruce Street,    Suite 100,    Philadelphia, PA 19102-4578
14104038        Philadelphia Court of Common Pleas,    Philadelphia City Hall,    Philadelphia, PA 19107
14104039       +Philadelphia Department of Revenue,    1401 John K. Kennedy Blvd.,     Concourse Level,
                 Philadelphia, PA 19102-1613
14104041       +Philadelphia Sheriff’s Office,    100 S. Broad Street,    5th Floor,
                 Philadelphia, PA 19110-1023

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: bestcasestephen@gmail.com May 30 2018 02:05:47        STEPHEN MATTHEW DUNNE,
                 Dunne Law Offices, P.C.,    1515 Market Street,    Suite 1200,    Philadelphia, PA 19102,
                 U.S.A.
tr             +E-mail/Text: bncnotice@ph13trustee.com May 30 2018 02:06:51        WILLIAM C. MILLER, Esq.,
                 Chapter 13 Trustee,   P.O. Box 1229,     Philadelphia, PA 19105-1229
smg             E-mail/Text: bankruptcy@phila.gov May 30 2018 02:06:35        City of Philadelphia,
                 City of Philadelphia Law Dept.,    Tax Unit/Bankruptcy Dept,     1515 Arch Street 15th Floor,
                 Philadelphia, PA 19102-1595
smg             E-mail/Text: RVSVCBICNOTICE1@state.pa.us May 30 2018 02:06:09
                 Pennsylvania Department of Revenue,     Bankruptcy Division,    P.O. Box 280946,
                 Harrisburg, PA 17128-0946
smg            +E-mail/Text: usapae.bankruptcynotices@usdoj.gov May 30 2018 02:06:23        U.S. Attorney Office,
                 c/o Virginia Powel, Esq.,    Room 1250,    615 Chestnut Street,    Philadelphia, PA 19106-4404
ust            +E-mail/Text: ustpregion03.ph.ecf@usdoj.gov May 30 2018 02:06:15        United States Trustee,
                 Office of the U.S. Trustee,    833 Chestnut Street,    Suite 500,    Philadelphia, PA 19107-4405
14104031        EDI: CAPITALONE.COM May 30 2018 06:03:00       CAPITAL ONE,    15000 CAPITAL ONE DR,
                 RICHMOND, VA 23238
14104030       +EDI: CAPITALONE.COM May 30 2018 06:03:00       CAPITAL ONE,    ATTN: BANKRUPTCY,    PO BOX 30285,
                 SALT LAKE CITY, UT 84130-0285
14104032        E-mail/Text: bankruptcy@phila.gov May 30 2018 02:06:35        City of Philadelphia,
                 1515 Arch Street,   Law Department, 15th Floor,     Philadelphia, PA 19102
14104034        E-mail/Text: bankruptcy@phila.gov May 30 2018 02:06:35        City of Philadelphia,
                 Attn: James Zwolak,   1401 JFK Blvd., 5th Floor,     Philadelphia, PA 19102
                                                                                               TOTAL: 10

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
14104040*        +Philadelphia Department of Revenue,   1401 John K. Kennedy Blvd.,                       Concourse Level,
                   Philadelphia, PA 19102-1613
                                                                                                                    TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 31, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 21, 2018 at the address(es) listed below:
              STEPHEN MATTHEW DUNNE   on behalf of Debtor Lyndel Toppin bestcasestephen@gmail.com,
               dunnesr74587@notify.bestcase.com
              United States Trustee   USTPRegion03.PH.ECF@usdoj.gov
              WILLIAM C. MILLER, Esq.   ecfemails@ph13trustee.com, philaecf@gmail.com
                                                                                            TOTAL: 3


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         18-00137-mdc
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Information to identify the case:
Debtor 1                 Lyndel Toppin                                                          Social Security number or ITIN    xxx−xx−2550

                         First Name   Middle Name   Last Name                                   EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                                        Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name   Last Name
                                                                                                EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court        Eastern District of Pennsylvania
                                                                                                Date case filed for chapter 13 5/8/18
Case number:          18−13098−mdc



Official Form 309I
Notice of Chapter 13 Bankruptcy Case
**Debtor's Photo ID &Social Security Card Must Be Presented at 341 Hearing**                                                                           12/15

For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                              About Debtor 1:                                               About Debtor 2:
1. Debtor's full name                         Lyndel Toppin

2. All other names used in the
   last 8 years
                                              146 S. 62nd Street
3. Address                                    Philadelphia, PA 19145
                                              STEPHEN MATTHEW DUNNE                                         Contact phone 215−551−7109
                                              Dunne Law Offices, P.C.
4. Debtor's  attorney
   Name and address
                                              1515 Market Street
                                              Suite 1200
                                                                                                            Email: bestcasestephen@gmail.com

                                              Philadelphia, PA 19102
                                              U.S.A.

5. Bankruptcy trustee                         WILLIAM C. MILLER, Esq.                                       Contact phone 215−627−1377
     Name and address                         Chapter 13 Trustee
                                              P.O. Box 1229                                                 Email: ecfemails@ph13trustee.com
                                              Philadelphia, PA 19105

6. Bankruptcy clerk's office                                                                                Hours open:
     Documents in this case may be filed                                                                    Philadelphia Office −− 8:30 A.M. to 5:00 P.M
     at this address.                         900 Market Street                                             Reading Office −− 8:00 A.M. to 4:30 P.M.
     You may inspect all records filed in     Suite 400
     this case at this office or online at    Philadelphia, PA 19107                                        Contact phone (215)408−2800
      www.pacer.gov.
                                                                                                            Date: 5/29/18

                                                                                                                  For more information, see page 2


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Debtor Lyndel Toppin                                                                                                                     Case number 18−13098−mdc

7. Meeting of creditors                                                                                                Location:
   Debtors must attend the meeting to     July 11, 2018 at 1:30 PM                                                     Suite 18−341, 1234 Market Street,
   be questioned under oath. In a joint                                                                                Philadelphia, PA 19107
   case, both spouses must attend.
   Creditors may attend, but are not      The meeting may be continued or adjourned to a later date. If
   required to do so.                     so, the date will be on the court docket.
8. Deadlines                               Deadline to file a complaint to challenge                                     Filing deadline: 9/9/18
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following    You must file:
   deadlines.                              • a motion if you assert that the debtors are not entitled to receive a discharge
                                             under U.S.C. § 1328(f), or

                                           • a complaint if you want to have a particular debt excepted from discharge
                                             under 11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                           Filing deadline: 7/17/18
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                            Filing deadline: 11/4/18
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file a
                                           proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For
                                           example, a secured creditor who files a proof of claim may surrender important nonmonetary rights, including the
                                           right to a jury trial.


                                           Deadline to object to exemptions:                                             Filing deadline:      30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                                  conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                                   meeting of creditors
                                           may file an objection.

9. Filing of plan                         The debtor has filed a plan. This plan proposes payment to the trustee of 200.00 per month for 60 months. The plan or a summary
                                          of the plan is enclosed. The hearing on confirmation will be held on:
                                          8/2/18 at 9:30 AM , Location: Courtroom #2, 900 Market Street, Philadelphia, PA 19107
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have any
                                           questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy or summary of the plan, if not enclosed, will be sent to you
                                           later, and if the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation
                                           hearing. The debtor will remain in possession of the property and may continue to operate the business, if any,
                                           unless the court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and distributed
                                           to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as exempt.
                                           You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law
                                           does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                           However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                           are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                           as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                           523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline. If
                                           you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                           must file a motion. The bankruptcy clerk's office must receive the objection by the deadline to object to
                                           exemptions in line 8.




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